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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

   JEFF KUSMIERSKI, Derivatively on Behalf
   of Nominal Defendant NEXTERA ENERGY,
   INC.,

                      Plaintiff,                 Case No. 1:24-cv-22533

         v.                                      Hon. Jacqueline Becerra, U.S.D.J.

   JOHN W. KETCHUM, NICOLE S.
   ARNABOLDI, SHERRY S. BARRAT,
   JAMES L. CAMAREN, KENNETH B.                  JURY TRIAL DEMANDED
   DUNN, NAREN GURSAHANEY, KIRK S.
   HACHIGIAN, AMY B. LANE, DAVID
   PORGES, JOHN A. STALL, DARRYL L.
   WILSON, RUDY E. SCHUPP, JOHN L.
   SKOLDS, LYNN M. UTTER, JAMES L.
   ROBO, ERIC SILAGY, DAVID P.
   REUTER, and MATRIX LLC,

                     Defendants,

         - and -

   NEXTERA ENERGY, INC.,

                      Nominal Defendant.
                                             /


          VERIFIED STOCKHOLDER AMENDED DERIVATIVE COMPLAINT
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         Plaintiff Jeff Kusmierski (“Plaintiff”), by and through his undersigned counsel, brings this

  action derivatively on behalf of Nominal Defendant NextEra Energy, Inc. (“NextEra,” or the

  “Company”), against certain current and former members of NextEra’s Board of Directors (the

  “Board”) and executive officers, seeking to remedy (1) breaches of fiduciary duties and (2)

  violations of the federal securities laws.     Plaintiff makes these allegations upon personal

  knowledge as to the facts of his ownership of NextEra stock and upon information and belief as to

  all other matters, based upon an investigation by his counsel, which included, among other things,

  a review of: (a) non-public internal Company records obtained by Plaintiff pursuant to Florida

  Statutes §607.1602 (the “Books and Records“); (b) public filings made by NextEra and other

  related parties and non-parties with the U.S. Securities and Exchange Commission (“SEC”); (c)

  press releases and other publications disseminated by the Company and other related non-parties;

  (d) news articles, shareholder communications, and postings on NextEra’s website; (e) the

  proceedings in a related federal securities class action captioned Jastram v. NextEra Energy, Inc.,

  No. 9:23-cv-80833-AMC (S.D. Fla.) (the “Securities Action”); (f) the proceedings in a related civil

  suit captioned Avangrid, Inc. v. NextEra Energy, Inc., No. 3:24-cv-30141-KAR (D. Mass.) ( the

  “Antitrust Action”); and (g) other publicly available information.

  I.     NATURE OF THE ACTION

         1.      NextEra is one of the largest energy and utility holding companies in North

  America. NextEra’s main subsidiary is Florida Power and Light Co. (“FPL”), the largest vertically

  integrated regulated utility in Florida.

         2.      NextEra and its subsidiaries operate in a highly regulated industry, and are

  dependent on local, state, and federal lawmakers to set the rules under which NextEra operates and




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  makes money. As such, NextEra regularly spends significant sums on lobbyists and political

  consultants to advocate for NextEra’s interests.

         3.      NextEra’s dependence on lawmakers also gives the Company a motivation to work

  to ensure that its preferred candidates for office are promoted, and that its preferred policies are

  enacted. Operating in this political environment means that the Company is bound by federal,

  state, and local election laws and regulations. Federal and state laws also prohibit NextEra from

  using its market position to operate in an anticompetitive fashion. In addition, the Company and

  its leadership are bound by NextEra’s own policies and guidelines on how to operate ethically and

  legally in that environment. As a publicly traded company, NextEra and its leadership are further

  bound by SEC rules and regulations not to issue materially false and misleading statements about

  the Company.

         4.




         5.




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                                                                               . Later media reports

  alleged that Matrix had spied on journalists with the active participation of FPL employees after

  the publication of negative reporting.

         6.      NextEra responded to reports of its alleged involvement in any potential scandal by

  denying any such involvement. For example, on December 2, 2021, in response to an Orlando

  Sentinel story, NextEra’s corporate spokesperson, Defendant David P. Reuter (“Reuter”) stated

  that “[a]ny report or suggestion that we had involvement in, financially supported or directed

  others to support any ‘ghost’ candidates during the 2020 election cycle is patently false.”

         7.      Defendant James L. Robo (“Robo”), NextEra’s then-Chief Executive Officer

  (“CEO”) and Board Chairman, addressed the controversy during a conference call with stock

  market analysts and investors on January 25, 2022, stating that NextEra had “conducted a very

  extensive and thorough investigation that included looking at company financial records. It

  included looking at everyone who was named in its company e-mails, also looking at their –

  they’ve all provided access to their personal e-mails and text to us as part of that investigation.

  And the bottom line is we found no evidence of any issues at all [. . .] I feel very good that there

  is no basis to any of these allegations[.]”

         8.      Defendants’ statements denying any connection with the publicly reported

  allegations of possible wrongdoing were materially false and misleading when made.




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         9.




         10.     The Matrix Memo and its supporting exhibits and associated documents describe,

  in detail, that (1) Matrix specifically outlined for FPL executives how it would use a series of

  501(c)(4) and other entities controlled by its operatives or affiliates to conceal FPL’s political

  expenditures for the 2020 election cycle; (2) FPL executives, including Silagy, approved and

  orchestrated the selection of which elected officials should be the subject of FPL’s concealed

  political expenditures; and (3) FPL funds flowed through a series of intermediaries to dark money

  groups and vendors responsible for recruiting or bolstering the “ghost candidates” who served as

  spoilers in the 2020 election.

         11.     By denying any involvement in the Matrix scheme, and by claiming that there was

  no basis for potential liability, Robo, Silagy, and Reuter – and thus NextEra itself – violated federal

  securities laws, as well as NextEra’s own policies.

         12.     A separate NextEra subsidiary, NextEra Energy Resources, LLC (“NEER”),

  participated in a similar scheme in Maine at the same time as the Matrix-FPL scheme was

  underway. Likewise steering Company funds through a series of 501(c)(4) groups, NextEra sought




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  to influence the progress of a major transmission line called New England Clean Energy Connect

  (“NECEC”). An investigation by Maine’s elections regulator resulted in findings of wrongdoing

  by the groups funded by NEER. NextEra further engaged in anticompetitive conduct in seeking

  to derail NECEC by introducing two unconstitutional referendums, engaging in the dark-money

  scheme, and obstructing infrastructure improvements.

         13.     Individual Defendants (defined infra) violated their fiduciary duties to NextEra and

  its shareholders and violated federal securities laws by actively participating in the FPL-Matrix

  and NECEC schemes, by putting out, or allowing NextEra to put out, false and misleading

  statements to the market about the schemes, or by failing to adequately establish and monitor

  internal controls to prevent, detect, or adequately deal with the wrongdoing and wrongdoers.

         14.




                                 . As a result of the Individual Defendants’ breach of fiduciary duty,

  NextEra and its shareholders have suffered financial and reputational harm. The Company is

  subject to potentially hundreds of millions of dollars in liability from the Securities Action and the

  Antitrust Action.     Repeated media campaigns have tarnished the Company’s reputation.

  Individual Defendants were unjustly enriched despite their breaches of duty. This action seeks to

  obtain redress on behalf of NextEra and its shareholders for those harms.




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  II.     JURISDICTION AND VENUE

          15.     The Court has subject matter jurisdiction pursuant to 28 U.S.C. §1331. The claims

  asserted herein arise under §§14(a) and 29(b) of the Securities Exchange Act of 1934 (the

  “Exchange Act”), 15 U.S.C. §§78n(a) and 78cc(b), and Rule 14a-9, 17 C.F.R. §240.14a-9,

  promulgated thereunder. This Court has supplemental jurisdiction pursuant to 28 U.S.C. §1367 as

  to the state law claims alleged, as they arise out of the same transactions and occurrences as the

  federal claims. In connection with the wrongdoing complained of herein, defendants used the

  means and instrumentalities of interstate commerce, the U.S. mail, and the facilities of the national

  securities markets. This action is not a collusive one to confer jurisdiction on a court of the United

  States that it would not otherwise have.

          16.     This Court has personal jurisdiction over each of the defendants named herein

  because each defendant is either a corporation incorporated, maintaining its principal executive

  offices, and operating in this State, or is an individual who is a citizen of this State or has sufficient

  minimum contacts with this State so as to render the exercise of jurisdiction by this Court

  permissible under traditional notions of fair play and substantial justice.

          17.     Venue is proper in this District pursuant to §27 of the Exchange Act, 15 U.S.C.

  §78aa, as well as 28 U.S.C. §1391(b). Venue is proper pursuant to 28 U.S.C. §1391(b) because:

  (i) the Company is headquartered in this District; (ii) one or more of the Individual Defendants

  either resides or maintains executive offices in this District; (iii) a substantial portion of the

  transactions and wrongs complained of herein, including the Individual Defendants’ primary

  participation in the wrongful acts detailed herein, occurred in this District; and (iv) the Individual

  Defendants have received substantial compensation in this District by doing business here and

  engaging in numerous activities that had an effect in this District.




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   III.   PARTIES

          A.      Plaintiff

          18.     Plaintiff Jeff Kusmierski is a shareholder of NextEra. Plaintiff initially purchased

   shares on May 5, 2022, and has continuously held his shares since then. Plaintiff will continue to

   hold NextEra shares throughout the pendency of this action. Plaintiff will fairly and adequately

   represent the interests of other NextEra shareholders in enforcing the rights of the Company.

          B.      Nominal Defendant

          19.     Nominal Defendant NextEra is a Florida corporation with its principal executive

   offices located at 700 Universe Boulevard, Juno Beach, Florida 33408.

          C.      Current Director Defendants

          20.     Defendant John W. Ketchum (“Ketchum”) has served as the President and CEO of

   NextEra since March 2022, its Chairman since July 2022, and Chairman of FPL since February

   2023. From March 2019 until March 2022, Mr. Ketchum served as the President and CEO of

   NEER. Previously, Mr. Ketchum served as executive Vice President, Finance, and Chief Financial

   Officer of NextEra from March 2016 to March 2019. Defendant Ketchum is the Chair of the

   Board’s Executive Committee and a member of the Board’s Nuclear Committee.

          21.     Defendant Nicole S. Arnaboldi (“Arnaboldi”) has been a director of NextEra since

   October 2022. Defendant Arnaboldi is a member of the Board’s Audit and Finance and Investment

   Committees.

          22.     Defendant James L. Camaren (“Camaren”) has been a director of NextEra since

   2002. Defendant Camaren is a member of the Board’s Compensation and Finance and Investment

   committees.




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          23.    Defendant Naren Gursahaney (“Gursahaney”) has been a director of NextEra since

   2014. Defendant Gursahaney is the Chair of the Board’s Audit Committee and a member of the

   Board’s Executive and Governance and Nominating committees.

          24.    Defendant Kirk S. Hachigian (“Hachigian”) has been a director of NextEra since

   2013. Defendant Hachigian is the Chair of the Board’s Compensation Committee and a member

   of the Board’s Executive and Governance and Nominating committees.

          25.    Defendant Amy B. Lane (“Lane”) has been a director of NextEra since 2015.

   Defendant Lane is the Chair of the Board’s Governance and Nominating Committee and a member

   of the Board’s Executive and Finance and Investment committees.

          26.    Defendant David Porges (“Porges”) has been a director of NextEra since 2020.

   Defendant Porges is the Chair of the Board’s Finance and Investment Committee and a member

   of the Board’s Executive and Governance and Nominating committees.

          27.    Defendant John A. Stall (“Stall”) retired from NextEra in 2010, where he had

   served in numerous nuclear leadership roles. Defendant Stall served as President of NextEra’s

   nuclear division from 2009 to 2010, as Senior Vice President and Chief Nuclear Officer from 2001

   to 2009, as Vice President, Nuclear Engineering from 2000 to 2001 and Vice President of

   NextEra’s St. Lucie nuclear generating station from 1996 to 2000. Defendant Stall has been a

   director of NextEra since 2022. Defendant Stall chairs the Board’s Nuclear Committee and is a

   member of the Board’s Audit Committee.

          28.    Defendant Darryl L. Wilson (“Wilson”) has been a director of NextEra since 2018.

   Defendant Wilson serves on the Board’s Audit and Compensation committees.




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          29.     Defendants Ketchum, Arnaboldi, Camaren, Gursahaney, Hachigian, Lane, Porges,

   Stall, and Wilson are collectively referred to herein as the “Current Director Defendants.”1

          D.      Former Director and Executive Defendants

          30.     Defendant James L. Robo (“Robo”) served as President and CEO of NextEra from

   July 2012, as Chairman of NextEra from December 2013, and as Chairman of FPL from May

   2012, until his retirement in March 2022. Prior to his succession to the role of CEO, he served as

   President and Chief Operating Officer of NextEra from 2006. Robo joined NextEra as Vice

   President of corporate development and strategy in March 2002 and became President of NEER

   later in 2002. Robo was also chairman of the board and CEO of NextEra Energy Partners, LP. He

   served as the chair of the Executive Committee.

          31.     Defendant Sherry S. Barrat (“Barrat”) served as director of NextEra from 1998 until

   2024. Defendant Barrat was a member of the Board’s Compensation, Executive, and Governance

   and Nominating Committees, and served as Lead Independent Director.

          32.     Defendant Kenneth B. Dunn (“Dunn”) served as director of NextEra from 2010

   until 2024. Defendant Dunn was a member of the Board’s Audit and Finance and Investment

   committees.

          33.     Defendant Rudy E. Schupp (“Schupp”) served as director of NextEra from 2005

   until 2023 and served as the chair of Governance and Nominating Committee as well as a member

   of the Executive and Compensation Committees.

          34.     Defendant John L. Skolds (“Skolds”) served as a director of NextEra from 2012

   until 2023 and served as the chair of the Nuclear Committee and a member of the Audit Committee.



   1
         Current NextEra directors Maria Henry, Geoffrey Martha, and Dev Stahlkopf are not
   named as defendants in this action.


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          35.     Lynn M. Utter (“Utter”) served as a director of NextEra from November 2021 until

   May 2022 and served as a member of the Audit Committee and Finance & Investment Committee.

          36.     Defendants Robo, Barrat, Dunn, Schupp, Skolds, and Utter are collectively referred

   to as the “Former Director Defendants,” and with the Current Director Defendants as the “Director

   Defendants.”

          37.     Defendant Eric Silagy served as President, CEO, and Chairman of FPL. Defendant

   Silagy was appointed president in December 2011, CEO in May 2014, and Chairman in March

   2022. Defendant Silagy retired from FPL in May 2023.

          38.     Defendant David P. Reuter has been NextEra’s Vice President & Chief

   Communications Officer and has served as the primary corporate spokesperson for NextEra and

   FPL, since 2018. Reuter, because of his position in the Company, possessed the authority to

   control the contents of the Company’s press releases and statements to journalists.

          39.     Defendants Robo, Silagy, and Reuter are collectively referred to herein as the

   “Officer Defendants.” Robo, Silagy, and Reuter made or controlled the Company’s statements

   alleged herein to be misleading prior to, or shortly after, their issuance and had the ability and

   opportunity to prevent their issuance or cause them to be corrected. Because of their positions and

   access to material, non-public information available to them, Robo, Silagy, and Reuter knew that

   the adverse facts specified herein had not been disclosed to, and were being concealed from, the

   public, and that the positive representations which were being made were then materially false

   and/or misleading.

          40.     The Officer Defendants and Director Defendants are collectively referred to herein

   as the “Individual Defendants.”




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          E.      Aiding and Abetting Defendant

          41.     Matrix LLC is a political consulting, lobbying, opposition research, and strategic

   communications firm headquartered in Montgomery, Alabama, and founded by Dr. Joseph Perkins

   (“Perkins”).

   IV.    THE INDIVIDUAL DEFENDANTS’ DUTIES AND OBLIGATIONS

          A.      Duties of All Individual Defendants

          42.     By reason of their positions as directors and officers of NextEra, and by virtue of

   their ability to control the business and corporate affairs of the Company, each of the Individual

   Defendants owed, and owes, NextEra and its shareholders the fiduciary obligations of loyalty,

   good faith, and candor and were, and are, required to use their utmost ability to control and manage

   the Company in a lawful, fair, just, honest, and equitable manner. The Individual Defendants were,

   and are, required to act in furtherance of the best interests of NextEra and its shareholders, so as

   to benefit all shareholders equally and not in furtherance of their personal interest or benefit.

          43.     Each Individual Defendant owes to NextEra and its shareholders the fiduciary duty

   to exercise good faith and diligence in the administration of the affairs of the Company, and in the

   use and preservation of its property and assets, and the highest obligations of fair dealing.

          44.     At all times relevant hereto, each Individual Defendant was the agent of each of the

   other Individual Defendants, and of the Company, and was at all times acting within the course

   and scope of such agency.

          45.     By virtue of their fiduciary duties of loyalty, good faith, and candor, each Individual

   Defendant was required to, among other things:

                  a.      Exercise good faith to ensure that NextEra’s affairs were conducted in an

                          efficient, business-like manner;



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                  b.      Exercise good faith to ensure that the Company was operated in a diligent,

                          honest, and prudent manner and complied with all applicable federal and

                          state laws, rules, regulations, requirements, and all contractual obligations,

                          including acting only within the scope of its legal authority;

                  c.      When put on notice of problems with the Company’s business practices and

                          operations, exercise good faith in taking appropriate action to correct the

                          misconduct and prevent its recurrence; and

                  d.      Remain informed as to how the Company conducted its operations, and

                          upon receipt of notice or information of imprudent or unsound conditions

                          or practices, make reasonable inquiry in connection therewith.

          46.     The Director Defendants who were and are members of the committees of the

   Board, assumed the responsibility to carry out the functions of their committees.

          47.     The Individual Defendants knowingly or consciously breached their fiduciary

   duties of loyalty and good faith. They did so by causing themselves or allowing other Individual

   Defendants to cause NextEra to engage in political misconduct and violate federal securities laws.

   This misconduct has caused NextEra to be damaged both financially and reputationally.

          48.     Furthermore, by virtue of their positions of control and authority as directors and/or

   officers of NextEra, the Individual Defendants were able to and did, directly or indirectly, exercise

   control over the wrongful acts complained of herein. The Individual Defendants also failed to

   prevent other of the Individual Defendants from their misconduct.

          49.     The Company’s Political Engagement Policy states, in relevant part, the following:

          NextEra Energy officers with accountability for political engagement report to
          senior management of the Company, which includes the Chairman and Chief
          Executive Officer of NextEra Energy. Senior management provides oversight of




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           the Company’s political engagement activities and ensures they are in alignment
           with the Company’s corporate strategy and objectives[. . . .]

           NextEra Energy sets high ethical standards when making corporate political
           contribution decisions[. . . .] NextEra Energy makes each political contribution
           with the expectation that it is in full compliance with both the letter and the spirit
           of the law of the applicable jurisdiction.

                                                   ***

           The Governance & Nominating Committee of the NextEra Energy Board of
           Directors assists the Board in oversight of the Company’s political activities. The
           Governance & Nominating Committee reviews and discusses with NextEra
           Energy’s Executive Vice President and General Counsel, at least annually, the
           Company’s Significant Trade Association Dues, contributions by the NextEra
           Energy PAC, the Company’s contributions to candidates and committees and the
           Company’s contributions to all U.S. tax-exempt organizations that are primarily
           engaged in political activities.

           The Governance & Nominating Committee also periodically reviews and discusses
           this policy with management, and is required to approve any changes to this policy.

           Public Disclosures

           As part of the Company’s political engagement policy, the Company commits to
           publicly disclose on its website, within 180 days after the end of each calendar year,
           its annual Significant Trade Association Dues, its expenditures for federal and state
           lobbying, and contributions from the NextEra Energy PAC, among other pertinent
           information.

           50.     NextEra’s Code of Business Conduct and Ethics (the “Code of Conduct”) applies

   to everyone at NextEra, including the Individual Defendants.

           51.     The Code of Conduct states:
           Violations of our Code, values, policies or the law will carry serious consequences
           for the individuals involved, as well as for NextEra Energy as a whole. Those
           individuals engaging in unethical or illegal behavior and those who direct, condone,
           approve, or facilitate such behavior, will be subject to legal action and disciplinary
           action, up to and including termination. Behavior prohibited under the Code puts
           all of us at risk of a damaged reputation, negatively affects our stakeholders and
           may subject us to fines and civil or criminal liability.

           52.     In a section titled “Investigations and Consequences,” the Code of Conduct states,

   in relevant part:



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           NextEra Energy strives to apply consistent principles when conducting
           investigations. When a concern is reported, the information is forwarded to the
           proper resource for investigation. Those who make reports to the Code of Business
           Conduct & Ethics Hotline will receive a case number. This number enables you to
           check on the status of the investigation. You may be asked to provide additional
           information and will be notified when an investigation is completed. This is all done
           to the extent practicable under the circumstances.

           53.      In a section titled “Legal Responsibilities,” the Code of Conduct states, in relevant

   part:

           Regardless of title, position or tenure, you have a duty to know and strictly follow
           our Code, the law, and all Company policies. Additionally, you must know and
           follow the laws and regulations that apply to the work you do and the places where
           we do business – whether working in or outside of the United States. When you are
           unclear about the meaning or importance of a section of our Code, you should not
           hesitate to ask questions. Note, you must certify, on an annual basis, that you have
           read and understand our Code. Compliance with our Code is non-negotiable.

           54.      In a section titled “We Observe Securities Laws,” the Code of Conduct states, in

   relevant part:

           In the course of your work, you may become aware of information about our
           Company (or other companies) before the public hears about it. It is important that
           you never disclose, or use for your personal benefit, any material, non-public (or
           “inside”) information you know or possess. Material, non-public information
           comes in various forms. Generally, it is information that a reasonable investor
           would consider important when making an investment decision, like buying or
           selling stock. Alternatively, you might not think of information as “public” until
           after the close of business on the first trading day following the date of public
           disclosure of the information. Trading on material, non-public information is a
           violation of insider trading laws, which can subject the individuals involved to
           disciplinary action up to and including termination, as well as to potential civil and
           criminal penalties.

           55.      In a section titled “Personal Relationships,” the Code of Conduct states, in relevant

   part:

           A conflict of interest can arise if you or any related person has a personal stake in a
           company that is a customer, business partner, or a competitor of NextEra Energy[.
           . . .] Personal relationships include a relative or related person, such as your
           spouse, civil partner, parents, children, siblings, stepparents, mothers-in-law
           and fathers-in-law, sons-in-law and daughters-in-law, any person living in the



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          same house with you, any business associate of yours and anyone who is a close
          personal friend of yours.

   [Emphasis in original.]

          56.     In a section titled “We Exchange Business Courtesies Ethically,” the Code of

   Conduct states, in relevant part:

          At NextEra Energy, we win business based on the quality of our offerings – not our
          ability to be swayed by business courtesies or favors. To preserve our good
          reputation, you must use caution when giving or accepting gifts or entertainment.
          You should not exchange business courtesies with an existing or potential supplier,
          contractor, vendor, business partner, or customer if the intent is to elicit an unfair
          business advantage for NextEra Energy.

          Gifts are usually goods and services but can be defined as any item of value.
          For example, when the person offering a meal or entertainment is not
          attending the meal or event, it is considered a gift.

          Entertainment is generally defined as a situation where both a representative
          from the provider and the recipient are present.

   [Emphasis in original.]

          57.     In a section titled “We Do Not Resort to Corruption or Bribery,” the Code of

   Conduct states, in relevant part:

          As part of our commitment to winning business the right way, NextEra Energy will
          never tolerate bribery in any form. Even if we lose business or encounter delays
          because of our refusal to do so, we will never bribe any third party, or allow or
          condone third parties to do so on behalf of NextEra Energy. We believe in ethically
          winning business through the quality of our products and services, never through
          bribery. We abide by laws, treaties and regulations that forbid bribery, including the
          U.S. foreign Corrupt Practices Act. To be a responsible member of our business
          community, you must follow these laws wherever you do business, regardless of
          local law or custom.

          It is also important to note that you may not hire a third party to do something
          that you cannot ethically or legally do yourself.

   [Emphasis added.]

          58.     The Code of Conduct states further that:




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          You are encouraged to participate in political activities. You have the right to
          individually and voluntarily donate your time and money to the political process.
          However, your participation may not occur on Company time or at NextEra
          Energy’s expense. This means, for example, that you should never engage with your
          fellow employees on behalf of a political candidate during the workday or expect
          to be reimbursed by our Company for your personal political contributions. If you
          want to use Company property, facilities, time or funds for political activities, it
          must be pre-approved as set forth in the table at the end of this section. You must
          not engage in lobbying activities on behalf of NextEra Energy, without prior
          consent from the applicable Vice President according to the table that follows.
          Further, lobbying activities may require disclosure and may be subject to specific
          rules that are often complicated and subject to change. It is your responsibility to
          ensure that you are in compliance with the applicable laws.

          In most – if not all – states and countries, it is illegal to make contributions or
          give gifts to politicians, political parties or public officials that are intended to
          influence official actions. Moreover, among other requirements, any political
          contributions of corporate funds or other assets must be made directly and in the
          name of our Company, promote the interests of our Company, be made without
          regard for private political preferences, comply with all applicable Company
          policies, be reported in compliance with applicable laws, recorded appropriately
          in our Company’s books and records and be approved by the appropriate
          officers[.]

   [Emphasis added.]

          59.       In a section titled “We Communicate Truthfully With The Public,” the Code of

   Conduct states, in relevant part:

          We always communicate truthfully with the public. At the same time, we are
          consistent in our messaging and careful to promote our Company’s best interests.
          For this reason, only authorized individuals can speak with the media on NextEra
          Energy’s behalf.

          60.       In a section titled “We Compete With Integrity,” the Code of Conduct states, in

   relevant part:

          We never sacrifice our integrity to win business. This means we comply with all
          applicable antitrust and competition laws, wherever we do business. While
          complex, these laws are meant to ensure a level-playing field and fair competition
          in the marketplace. In practice, these laws require that we make independent
          business decisions, never engaging in unfair business practices, scheming with our
          competitors or making other inappropriate business arrangements.

   [Emphasis added.]


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          61.     The Company’s Code of Ethics for Senior Executive and Financial Officers applies

   to NextEra’s Chairman, President, and CEO; Executive Vice President, Finance and Chief

   Financial Officer; Treasurer; Chief Tax Officer; Executive Vice President & General Counsel;

   Vice President, Controller and Chief Accounting Officer; the President and CEO of NEER; and

   the President and CEO of FPL; designating these persons collectively as the “Senior Executive

   and Financial Officers.” It provides, in relevant part:

          You are expected to comply with both the letter and spirit of all applicable
          governmental laws, rules and regulations and this Code, and to promptly report
          any suspected violations of applicable governmental laws, rules and regulations or
          this Code to the General Counsel, the Chief Executive Officer or the chairperson of
          the Audit Committee of NextEra Energy’s Board of Directors. No one will be
          subject to retaliation because of a good faith report of a suspected violation. If you
          fail to comply with this Code or any applicable laws, rules or regulations, you
          may be subject to disciplinary measures, up to and including termination of your
          employment.

   [Emphasis added.]

          62.     The Company’s Audit Committee Charter provides in relevant part:

          The Audit Committee is appointed by the Board of Directors of NextEra Energy,
          Inc. (the “Board”) to assist the Board in its oversight of: (1) the integrity of the
          financial statements of the Company; (2) the independent auditor’s qualifications
          and independence; (3) the performance of the Company’s internal audit function
          and independent auditor; (4) the compliance by the Company with legal and
          regulatory requirements; and (5) the accounting and financial reporting processes
          of the Company and audits of the financial statements of the Company.

          In addition, the Committee shall prepare the report required by the rules of the
          Securities and Exchange Commission . . . to be included in the Company’s annual
          proxy statement.

                                                   ***

          The function of the Committee is oversight. The management of the Company is
          responsible for the preparation, presentation and integrity of the Company’s
          financial statements and for the effectiveness of internal control over financial
          reporting. Management is responsible for designing and maintaining policies and
          procedures designed to assure compliance with accounting standards and
          applicable laws and regulations. The internal audit department is responsible for



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        assessing the adequacy and effectiveness of the Company’s system of internal
        controls, which are the responsibility of management. The independent auditors are
        responsible for planning and carrying out a proper audit of the Company’s annual
        financial statements in accordance with generally accepted accounting principles,
        performing reviews of the Company’s quarterly financial statements prior to the
        filing of each quarterly report on Form 10-Q, annually providing an opinion on the
        effectiveness of internal control over financial reporting, and other procedures.

                                                ***

        The Committee, to the extent required or as it deems appropriate, will:

        Financial Statement and Disclosure Matters

                                                ***

           Review and discuss with management and the independent auditor
            management’s internal control report required to be included in the Company’s
            annual report on Form 10-K, management’s assessment of the internal control
            structure and procedures of the Company for financial reporting, and the
            independent auditor’s opinion on the effectiveness of the Company’s internal
            control over financial reporting.
           Afford the chief financial officer and chief accounting officer open lines of
            communication to the Committee.

                                                 ***
           Discuss with management and the independent auditor the effect of regulatory
            and accounting initiatives on the Company’s financial statements.
           Discuss with management and the independent auditor the effect of off-balance
            sheet structures on the Company’s financial statements.
           Discuss with management the Company’s policies with respect to risk
            assessment and risk management.
           Review and discuss the Company’s major financial risk exposures and the steps
            management has taken to monitor and control such exposures.
           Ensure that risks identified from time to time as major risks are reviewed by the
            Board or a Board Committee.

                                                ***

           Review disclosures made to the Committee about any significant deficiencies
            in the design or operation of internal controls or material weaknesses therein
            and any fraud involving management or other employees who have a significant
            role in the Company’s internal controls.

                                                ***



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          Compliance Oversight Responsibilities

               Afford the individual or individuals with operational responsibility for the
                compliance and ethics program an open line of communication to the
                Committee, including the authority to communicate to the Committee (1)
                promptly on any matter involving criminal conduct or potential criminal
                conduct, and (2) no less than annually on the implementation and effectiveness
                of the compliance and ethics program.
               Review management reports with respect to the conformity of the Company
                and its affiliated entities with applicable legal and regulatory requirements.
                Review compliance with the Company’s Code of Business Conduct & Ethics
                and with the Code of Ethics for Senior Executive and Financial Officers,
                including review of any violations and waivers of such codes of ethics.
               Establish procedures for the receipt, retention and treatment of complaints
                received by the Company regarding accounting, internal accounting controls or
                auditing matters, and the confidential, anonymous submission by employees of
                concerns regarding questionable accounting or auditing matters.
               Discuss with management and the independent auditor any correspondence
                with regulators or governmental agencies and any published reports which raise
                material issues regarding the Company’s financial statements or accounting
                policies.
               Discuss with the Company’s General Counsel legal matters that the General
                Counsel believes are reasonably possible to have a material impact on the
                Company’s financial statements, internal controls or compliance policies.

          63.       The Company’s Governance and Nominating Committee Charter provides in

   relevant part:

          The Committee’s purposes include to: (1) identify individuals qualified to become
          Board members, consistent with criteria approved by the Board, and recommend
          that the Board select the director nominees for the next annual meeting of
          shareholders; (2) take a leadership role in shaping NextEra Energy’s corporate
          governance policies and practices, including recommending to the Board the
          Corporate Governance Principles & Guidelines applicable to NextEra Energy
          and its subsidiaries (the “Company”); and (3) oversee the evaluation of the Board.

                                                   ***
          Authority and Responsibilities
               Develop and recommend to the Board a set of Corporate Governance Principles
                & Guidelines applicable to the Company. Periodically review the Corporate
                Governance Principles & Guidelines and recommend any proposed changes to
                the Board.




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                  Review and assess the adequacy of the Company’s Code of Business Conduct
                   & Ethics and its Code of Ethics for Senior Executive and Financial Officers and
                   recommend any proposed changes to the Board.
                  Perform any other governance or similar activities as the Committee deems
                   appropriate, or as are requested or may be delegated by the Board, consistent
                   with this Charter, the Company’s Bylaws and applicable laws and regulations.

   [Emphasis added.]

   V.        SUBSTANTIVE ALLEGATIONS

             A.       Background

             64.      NextEra is one of the largest energy and utility holding companies in North

   America. NextEra produced revenue of over $18 billion in 2020 and employs approximately

   14,900 employees throughout the United States and Canada.

             65.      FPL delivers rate-regulated electricity to over 10 million people across nearly half

   of the State of Florida and is considered the third largest electric utility company in the United

   States.

             66.      NEER is the world’s largest producer of renewable energy from wind and solar.

             67.      NextEra is entirely dependent on FPL and NEER for its corporate revenues. In the

   most recent Form 10-K jointly filed by NextEra and FPL on February 16, 2024, NextEra reported

   fiscal year 2023 operating revenues of $28.114 billion. FPL accounted for $18.365 billion of those

   revenues (65.3%), while NEER accounted for $9.672 billion (34.4%), thus combining for 99.7%

   of NextEra’s operating revenues.

             68.      The three entities share resources, as well as senior management. For example,

   Defendant Ketchum, in addition to serving as NextEra’s CEO, President, and Chairman,

   concurrently serves as FPL’s CEO, and previously served as President and CEO of NEER.

   Defendant Robo likewise was NextEra’s Chairman, President, and CEO while concurrently

   serving as FPL’s Chairman, and had previously served as President of NEER.



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           69.    NextEra and its operating subsidiaries do business in a highly regulated

   environment. FPL is a rate-regulated utility provider, overseen by numerous state and federal

   regulators, including the Florida Public Service Commission (“FPSC”); the U.S. Federal Energy

   Regulatory Commission (“FERC”), the North American Electric Reliability Corporation

   (“NERC”), the U.S. Nuclear Regulatory Commission (“NRC”), and the U.S. Environmental

   Protection Agency (“EPA”).        NEER has ownership interests in rate-regulated transmission

   facilities which are regulated by state/provincial and federal regulators in Texas, California, New

   York, and Ontario, among others.

           70.    Most notably, the FPSC is responsible for much of FPL’s operating parameters,

   including retail rates, service area, issuance of securities, and planning, siting, and construction of

   facilities.

           71.    Each of the FPSC’s five commissioners is appointed by the Governor of Florida

   and confirmed by the Florida Senate.

           72.    Given NextEra’s dependence on decisions made by politically appointed regulators

   such as the FPSC, it is not surprising that NextEra spends significant sums on lobbying and other

   expenditures on the political process. According to figures published by the Energy and Policy

   Institute, FPL spent over $8.1 million on state-level campaign funds and political committees in

   the 2018 Florida gubernatorial cycle, $5.1 million in the 2020 cycle, and had already spent $6

   million with two months to go in the 2022 cycle.2 According to the watchdog organization

   OpenSecrets, NextEra and its political action committees, individual members/employees and




   2
           Alissa Jean Schafer, Amid Connections to Ongoing Election Scandals, NextEra Pours
   Millions into Florida’s 2022 Election Cycle, ENERGY AND POLICY INST. (Sept. 8, 2022),
   https://energyandpolicy.org/nextera-pours-millions-into-floridas-2022-election-cycle/.


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   their families have contributed over $22 million to political campaigns since 1990 and over $87

   million in lobbying efforts since 1998.3

              B.    NextEra’s Anti-Competitive Behavior and Undisclosed Participation
                    in Political Processes

              73.   NextEra has engaged in a series of undisclosed political spending designed to

   advance its interests outside of the public eye, notably through the hidden funding of 501(c)(4)

   organizations, which did NextEra’s bidding, unbeknownst to the public.

              74.   At the same time, NextEra used its market power and influence to prevent, obstruct,

   and delay its competitors’ business activities, costing those businesses and consumers millions of

   dollars.

                    1.     NextEra’s Obstruction of a Competitor’s Energy Project in
                           New England

              75.   NextEra has spent years fighting construction of a transmission line in Maine called

   New England Clean Energy Connect (NECEC). In 2017, Massachusetts engaged Avangrid, Inc.

   (“Avangrid”) – a competitor of NextEra – to develop NECEC from the Canadian border to

   Lewiston, Maine, where power from hydroelectric facilities in Quebec would enter the regional

   power grid. Avangrid’s project represented an additional power source for the region, threatening

   NextEra’s market share and profits.

              76.   At every step of the way, NextEra abused the regulatory, ballot initiative, and

   courtroom processes in an effort to obstruct the construction and implementation of NECEC.

              77.   NECEC required various state and federal permits and approvals from agencies

   including the Massachusetts Department of Public Utilities (“DPU”), Maine Department of



   3
          Client Profile: NextEra Energy, OPEN SECRETS, https://www.opensecrets.org/federal-
   lobbying/clients/summary?id=D000000321 (last visited May 16, 2024).


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   Environmental Protection (“DEP”), and Maine Public Utilities Commission (“PUC”). In order to

   slow down the permitting process, NextEra unsuccessfully intervened in all three regulatory

   proceedings to oppose NECEC. NextEra then took unsuccessful appeals of each regulatory

   decision.

          78.    Having exhausted the permitting process as a delay tactic, NextEra next turned to

   the ballot box, backing two unconstitutional referendums in Maine meant to deny or further delay

   the implementation of NECEC.

          79.    During the summer of 2019, after the PUC had issued a certificate of public

   convenience and necessity for NECEC, NextEra reviewed the language of a referendum which, if

   approved, would compel the PUC to reverse the certificate. Avangrid successfully challenged the

   initiative in the Maine Supreme Judicial Court as an unconstitutional end run around Maine’s

   guaranteed separation of powers.4

          80.    After the first unconstitutional ballot referendum, NextEra worked to get a second

   referendum on the ballot in November 2021, revoking NECEC’s certification by preventing

   construction of transmission lines like NECEC in the Upper Kennebec Region – with retroactive

   effect. After the referendum passed, Avangrid successfully challenged it in the Maine Supreme

   Judicial Court as an unconstitutional violation of NECEC’s due process rights under the vested

   rights doctrine.5 Separately, the Maine Supreme Judicial Court found the second referendum also

   unlawfully targeted NECEC, saying: “Opponents have swapped a targeted directive in the first




   4
          Avangrid Networks, Inc. v. Sec’y of State, 237 A.3d 882, 885, 895 (Me. 2020).
   5
          NECEC Transmission LLC v. Bureau of Parks & Lands, 281 A.3d 618, 630 (Me. 2022).


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   initiative for a nominally nontargeted retroactive mandate in the one before us now.”6 With the

   court’s holdings in hand, NECEC ultimately was allowed to continue construction.

           81.      NextEra still held another card in its hand to delay or deny NECEC and continue

   its bottleneck monopoly, however.

           82.      Even after NECEC was constructed, it needed increased capacity at the NextEra-

   owned Seabrook Station circuit breaker (the “Seabrook Breaker”) in order for its energy to flow

   into the grid.

           83.      ISO New England, which operates the regional power grid, had determined that the

   Seabrook Breaker was already operating at 99.6% capacity, and would require an upgrade before

   NECEC could connect to the grid without risking a catastrophic short circuit.

           84.      Under the terms of the regional power operating contract (known as a “tariff”),

   Avangrid – not NextEra – would be responsible for the direct costs of upgrading the Seabrook

   Breaker. Despite proposing to undertake construction on the Seabrook Breaker upgrade during

   planned downtime at Seabrook Station, NextEra refused to allow Avangrid to upgrade the

   Seabrook Breaker unless Avangrid promised to reimburse NextEra for all its indirect costs

   associated with the construction – including legal costs and lost profits.

           85.      The parties brought the dispute to FERC, which ruled largely in favor of Avangrid.

   NextEra petitioned the D.C. Circuit Court of Appeals for review. In a hearing before the court,

   NextEra openly bragged about its “veto” power over Avangrid – and any other potential

   competitor – to connect new power to the regional grid. The court found that NextEra’s position –

   “that its refusal to upgrade the breaker would prevent new generators from joining the grid and

   thus ensure that the breaker remains adequate” – was “anti-competitive behavior” incompatible


   6
           Black v. Bureau of Parks & Lands, 288 A.3d 346, 364 n.13 (Me. 2022).


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   with “good business practices” as required under NextEra’s legal obligations.7 The court thus

   affirmed the FERC order. NextEra finally completed the Seabrook Breaker upgrade in November

   2024 – after over five years of fruitless obstructionism by NextEra.

          86.     As a result of the above, Avangrid filed the Antitrust Action in November 2024,

   seeking over $350 million in damages from NextEra.

                  2.     NextEra’s Hidden Funding to Undermine New England Clean
                         Energy Connect

          87.     As part of its anticompetitive efforts to thwart NECEC, NEER surreptitiously

   funneled cash through a series of unrelated 501(c)(4) entities to support the planned 2020 citizen

   initiative in Maine to oppose NECEC. After a multi-year investigation into alleged wrongdoing,

   the Maine Commission on Governmental Ethics and Election Practices entered into consent orders

   with two of those entities for violations of Maine campaign finance laws.

          88.     Bernstein, Shur, Sawyer & Nelson, P.A. (“Bernstein Shur”), is a Maine law firm.8

          89.     The Hawthorn Group, L.C. (“Hawthorn”), is a public affairs and communications

   consulting firm based in Alexandria, Virginia.

          90.     In late 2017 or 2018, Hawthorn approached government relations consultants

   employed by Bernstein Shur and another Maine government relations consultant about doing work

   to oppose NECEC on behalf of a client (“the Client”), which is identified as NEER. (The Bernstein

   Shur consultants together with the other Maine government relations consultant are referenced



   7
          NextEra Energy Res., LLC v. FERC, 118 F.4th 361, 370 (D.C. Cir. 2024).
   8
            The following factual allegations are taken from the November 29, 2023 consent orders
   entered into between the Maine Commission and Stop the Corridor and Alpine Initiatives, found
   at (https://www.documentcloud.org/documents/24189988-stop-the-corridor-consent-
   agreement_0#document/p3/a2414135) and
   (https://www.documentcloud.org/documents/24212709-alpine-initiatives-consent-
   agreement#document/p2/a2421030), respectively.


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   collectively as the “Maine consultants.”) During 2018-2020, the Maine consultants worked as a

   team to organize opposition to NECEC and influence public opinion against the project. Stop the

   Corridor was formed in April 2018 as a Maine limited liability company, Clean Energy for ME,

   to conduct these activities.

          91.     In their early meetings, representatives of Hawthorn told the Maine consultants they

   should not publicly disclose the identity of NEER or Hawthorn and that all activities should be in

   accordance with Maine law. The Maine consultants understood this to mean that, if Maine law

   required an activity to result in the disclosure of the name of Hawthorn or NEER, the Maine

   consultants should not engage in such activity. Hawthorn retained the Maine consultants based on

   their expertise in Maine elections and election law and were relying on the Maine consultants to

   act within these parameters.

          92.     The Maine consultants assert that they believed that none of their activities required

   Stop the Corridor to register as a ballot question committee or to identify its source of funding

   under Maine law. The Commission staff's investigation did not find evidence that the consultants

   believed otherwise.

          93.     During 2018-2020, Stop the Corridor worked within a coalition of organizations

   opposed to NECEC that included, among others, the Natural Resources Council of Maine

   (“NRCM”), the Sierra Club, and an association of volunteers that had been organized through a

   Facebook page. Stop the Corridor engaged in a range of activities to oppose NECEC that did not

   implicate Maine’s campaign finance laws and included, among other things, coordinating citizens

   to oppose NECEC in municipal proceedings, influencing public opinion through advertising, and

   coordinating with coalition partners on generating comments to state and federal agencies. During

   2019-2020, the Maine consultants communicated regularly with Hawthorn through scheduled




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   biweekly “Maine team update” telephone calls, other phone calls as needed, and email as needed.

   An employee in the Client’s regulatory division sometimes participated in the 2019-2020 biweekly

   update calls in a listening role. Decisions about Stop the Corridor’s operations were made through

   the Maine consultants and a representative of Hawthorn. Hawthorn received weekly reports on

   the progress of general activities to oppose NECEC in Maine. Hawthorn financially managed Stop

   the Corridor and provided 100% of its funding with fees collected from the Client. The following

   chart summarizes the flow of money that paid for Stop the Corridor’s activities:




          94.     As described above, during the summer of 2019, the coalition of NECEC opponents

   decided to promote an initiated law that would direct the Maine Public Utilities Commission

   (“PUC”) to reverse a certificate of public convenience and necessity that the PUC had issued for

   NECEC in May 2019. NEER reviewed the language of the initiative.

          95.     The time period for petitioning was October 18, 2019-February 3, 2020. Volunteers

   organized by coalition partners collected signatures on petitions.

          96.     The Maine consultants paid six field workers to train volunteers on the

   technicalities of collecting signatures on petitions. The firm also paid for other expenses to help

   with the coalitions petitioning effort such as travel, a website for volunteers to sign up to petition,

   printing, postage, and office supplies.       The total value of these services ($85,726) was

   communicated to a PAC, No CMP Corridor, which reported them as in-kind contributions in three

   campaign finance reports filed with the Commission during October 2019-April 2020. This

   reporting indicated that Stop the Corridor had engaged in paid activities to assist with petitioning,


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   but it did not disclose any information about the sources that paid for Stop the Corridor’s

   assistance.

          97.     The Maine consultants are skilled campaign professionals with personal experience

   managing ballot question campaigns. Among other consulting services, the Maine consultants

   provided information and recommendations to promote the successful collection of signatures and

   related services to qualify the 2020 initiative for the ballot. Hawthorn, through Stop the Corridor,

   paid an undetermined amount to Bernstein Shur for strategic political advice concerning the 2020

   initiative. For purposes of the campaign finance report required by the Consent Agreement entered

   into between the Maine Commission on Governmental Ethics and Election Practices and Stop the

   Corridor on November 29, 2023, the parties agreed and stipulated that $10,000 was the total

   amount of fees paid to Bernstein Shur that were reportable as campaign expenditures.

          98.     The anti-NECEC coalition submitted the signed petitions to the Secretary of State

   on February 3, 2020. While the petitions were deemed valid, the Maine Supreme Judicial Court

   ultimately determined that the 2020 initiative would not appear on the ballot and, accordingly, the

   2020 initiative was never presented to Maine voters.

          99.     The Commission, after reviewing thousands of pages of documents and conducting

   witness interviews, ultimately determined that Stop the Corridor violated Maine campaign finance

   laws by failing to register as a ballot question committee and failing to file the requisite campaign

   finance reports.

          100.    Similarly, the Commission found that another Maine limited liability company

   (“LLC”), Alpine Initiatives, was used by NEER to contribute to the Maine Democratic Party

   without disclosing where the funds were coming from.




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          101.    In advance of the scheme, Bernstein Shur employees provided a mix of legal and

   consulting services for this purpose during 2018-2020. As with Stop the Corridor, in early

   meetings with the Berstein Shur consultants in late 2017 or 2018, Hawthorn told the Bernstein

   Shur consultants they should not disclose Hawthorn or NEER and that all activities should be

   conducted in accordance with Maine law.

          102.    In October 2018, the Bernstein Shur consultants viewed Democratic officials as

   generally more likely to oppose the NECEC project. In anticipation of future lobbying activities

   with Democratic officials regarding potential legislation, the Bernstein Shur consultants explored

   the feasibility of making a substantial contribution to the Maine Democratic Party in connection

   with the “get out the vote” activities related to the upcoming general election. The Bernstein Shur

   consultants believed the contribution would help their relationships with Democratic officials.

          103.    Around two weeks before the November 6, 2018 general election, one of the

   Bernstein Shur consultants called the former Deputy Director of the Maine Democratic Party to

   discuss a potential donation toward the party’s get out the vote activities. That consultant asked:

   if the consultant had a donor that could contribute $100,000 or $150,000, would the party be able

   to use the contribution before Election Day? The former Deputy Director confirmed the party

   could use that money to expand the party’s activities to contact voters to encourage them to return

   absentee ballots. The Bernstein Shur consultant did not identify the donor. No policy agenda was

   attached to the contribution. The contribution was intended to support the Democratic Party’s get

   out the vote activities. In a second conversation, the Bernstein Shur consultant confirmed that the

   amount would be $150,000 and the donor would be a new entity named Alpine Initiatives. The

   Commission staff’s investigation did not find evidence that NEER knew the purpose of the funds

   or to whom they would be paid.




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          104.     On October 23-24, 2018, the Bernstein Shur consultants and Hawthorn agreed to

   form a new LLC to make a donation to the Maine Democratic Party. It was determined that the

   funds would flow as follows:




          105.     Within a three-day period of October 24-26, 2018, the Bernstein Shur consultants

   caused Alpine Initiatives to be formed, opened its bank account, and made other necessary

   arrangements.

          106.     On Monday, October 29, 2018, Hawthorn made a wire transfer of $160,000 to

   Alpine Initiatives’ bank account. The next day, October 30, 2018, Alpine Initiatives wired

   $150,000 to the Maine Democratic Party.

          107.     In a 24-Hour Report filed with the Commission on October 29, 2018 (eight days

   before the general election), the Maine Democratic Party reported receiving $150,000 from Alpine

   Initiatives. The party also reported the contribution in its 42-Day Post-General Election Report

   filed on December 18, 2018.

          108.     Alpine Initiatives was the only source reported to the public of the $150,000

   contribution identified in the Maine Democratic Party campaign finance reports filed with the

   Commission. The public did not learn of the ultimate source of the contribution because it was

   reported in the name of Alpine Initiatives.

          109.     Alpine Initiatives did not register and file campaign finance reports with the

   Commission as a PAC.

          110.     Alpine Initiatives did not participate in any commerce within its 14-month

   existence. Making the $150,000 contribution was Alpine Initiatives’ only activity, other than


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   administrative tasks to maintain the LLC (e.g., making corporate filings and paying routine fees).

   Alpine Initiatives did not lobby or participate in any other political activities. It dissolved on

   December 31, 2019.

          111.    The Commission, after reviewing documents and conducting witness interviews,

   ultimately determined that Alpine Initiatives violated Maine campaign finance laws by failing to

   register as a PAC and failing to file the requisite campaign finance reports.

                  3.      Under-the-Table Political Influence Peddling in Florida

          112.    Matrix describes itself as a political consulting firm offering services in research,

   polling, public relations, and campaign management. According to its bare-bones public website,

   its motto is “A Comprehensive Approach to Problem Solving.”9 Matrix is headquartered in

   Montgomery, Alabama, and was founded by Dr. Joseph Perkins. Jeff Pitts joined Matrix in 1995

   and became Matrix’s CEO in 2000.

          113.    Media reports have called Matrix “secretive” and “the closest thing Alabama

   politics has to a non-governmental secret agency.”10 Matrix has counted numerous energy

   companies in the Southeast as clients, including Southern Company, Alabama Power, Mississippi

   Power, and FPL.

          114.




   9
          MATRIX, https://www.matrixllc.com/ (last visited May 19, 2024).
   10
           Mario Alejandro Ariza & Miranda Green, Leaked: US power companies secretly spending
   millions to protect profits and fight clean energy, THE GUARDIAN (July 27, 2022),
   https://www.theguardian.com/environment/2022/jul/27/leaked-us-leaked-power-companies-
   spending-profits-stop-clean-energy.


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                                           Matrix’s relationship with FPL was spearheaded by Pitts,

   Matrix’s then-CEO.

          115.    Many of the unethical and potentially illegal aspects of the Matrix-FPL relationship

   were described in detail by Matrix Employee 1 (“ME 1”),11 a former vice president of Matrix. ME

   1 worked at Matrix from the early 2000s until their departure in 2023.

          116.    According to ME 1, Pitts aggressively worked to expand Matrix’s business and

   opened an office in Tallahassee, Florida, as part of that expansion. Pitts brought with him three

   associates: Greg Gilbert (“Gilbert”) (Perkins’ godson), April Odom (“Odom”), a contractor who

   regularly worked with Pitts, and Abigail MacIver (“MacIver”). According to ME 1, “only a few

   Matrix people got to do stuff in Florida. It was a black box. Pitts kept it to himself. That was the

   source of the problems.”

          117.    In December 2020, Pitts advised Perkins that he was leaving Matrix to start a new

   firm, Canopy Partners LLC (“Canopy”). After Pitts left Matrix, Matrix discovered that “a server

   was left in Birmingham,” Alabama that someone had tried to destroy with a “hammer” in an

   apparent effort to prevent access to the server’s contents, according to ME 1. Despite the attempt to

   destroy the server, however, Matrix employees were able to gain access to the server which

   provided evidence and information of all the work Pitts was doing for FPL which was hidden from

   most Matrix employees and from Perkins, according to ME 1. ME 1 said that on the server there “were

   connections to Google Drives, cloud-based stuff. Personal laptops ran through it.”

          118.    ME 1 was one of the Matrix employees who was brought in to assist with the

   evaluation of the information recovered from the damaged server. ME 1 said that Matrix


   11
          All allegations concerning ME 1 come from the Second Am. Class Action Compl. for
   Violation of the Fed. Sec. Laws, Jastram v. NextEra Energy, Inc., No. 9:23-cv-80833-AMC (S.D.
   Fla. Dec. 1, 2023), ECF No. 68 (the “Securities Complaint”).


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   discovered “another set of books” that was kept and maintained by Pitts’ subordinate Gilbert for

   the FPL schemes. According to ME 1, Pitts’ team in Tallahassee “did the spreadsheets” and “kept

   the separate books” for the scheme. “There was a lot of misbehavior by the Florida crew. The

   FPL executives are tied up in it. There was a lot of money going into LLCs and disappearing.”

          119.   ME 1 stated that the Matrix investigation uncovered a scheme concerning the

   political campaign in Miami-Dade County, the late filing of Form 990s, and money flows that

   were highly suspicious.

          120.   After Pitts left Matrix, Perkins filed suit against Pitts in the Circuit Court of

   Jefferson County, Alabama, against Canopy, Pitts, Gilbert, MacIver, and Odom, each of whom

   left Matrix to join Canopy. ME 1 stated that as support for the lawsuit, he was part of the team

   that uncovered Pitts’ conduct. The team discovered Pitts’ (and others’) involvement in the “ghost

   candidate” scheme. ME 1 stated that the scheme, as reported by the press, was masterminded by

   Pitts and ME 1 was “sure Eric Silagy was aware of the scheme.”

          121.




          122.




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        123.




        124.



        125.




                                        34
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                          a.     FPL’s Failed Effort to Buy the Jacksonville Electric
                                 Authority

          126.     In 2019, the Company bid $11 billion to acquire the JEA. FPL and its officers

   worked with Matrix to exploit the political process in an attempt to tilt the tables towards FPL,

   including a potential plan to bribe a sitting Jacksonville councilperson. The JEA purchase process

   eventually fell apart amid scandal, which is the subject of two ongoing federal criminal

   prosecutions.

          127.     JEA, an independent agency of the City of Jacksonville, is a non-profit utility

   company serving the Jacksonville area with a substantial customer base that includes close to

   500,000 individuals relying on electric, water, and sewer services. As one of the largest publicly

   owned utilities in the nation, JEA operates under the governance of a seven-member board

   appointed by the Mayor of Jacksonville and confirmed by the City Council.

          128.     FPL’s service area surrounds and touches the area served by JEA, creating a gap or

   “hole” in FPL’s coverage. In late 2017, JEA began considering the idea of privatizing their utility

   services.

          129.     On July 23, 2019, after over a year of internal discussions, the JEA Board of

   Directors authorized JEA’s senior leadership to initiate the process of selling JEA. This involved

   issuing an Invitation to Negotiate (“ITN”) as required by Florida law for procurement. The ITN

   called for written proposals from vendors or bidders to compete for the opportunity to negotiate.

   Before the privatization of JEA could be finalized, the selected bidder would need approval from



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   the JEA Board, the Jacksonville City Council, and the support of Jacksonville voters through a

   successful referendum vote.

          130.    At the same meeting on July 23, 2019, the JEA Board also authorized senior

   leadership to establish a long-term incentive plan and Performance Unit Plan (“PUP”) that would

   compensate participants in part based on the amount of capital collected by the City of Jacksonville

   from the sale of JEA.

          131.    Because of its large customer base and service region, JEA was an appealing

   acquisition target for NextEra and FPL. The Company moved fast to position itself for success in

   obtaining Jacksonville City Council approval and a prospective referendum.

          132.    FPL and Silagy relied on Matrix and its network of associates to engage in alleged

   improper tactics during FPL’s efforts to purchase JEA. These tactics included (1) making a bogus

   job offer to a City Councilor who was opposed to privatization in order to get him out of the way,

   and (2) secretly monitoring a journalist who was critical of FPL’s bid and the privatization of JEA.

          133.    In the end, the JEA privatization plan fell apart as a result of a related internal

   scandal. The Jacksonville Council Auditor uncovered that JEA’s CEO Aaron Zahn (“Zahn”) and

   Chief Financial Officer Ryan Wannamacher (“Wannamacher”) would receive millions of dollars

   in bonuses if JEA went through with the privatization under the terms of the PUP. The JEA Board

   revoked the PUP and paused the JEA auction process after this information became widely known.

   The U.S. Department of Justice indicted Zahn and Wannamacher for conspiracy and wire fraud on

   March 2, 2022.

          134.    Notably, FPL went to great lengths to conceal Matrix’s role in the Company’s

   efforts to buy JEA. For example, in response to a subpoena issued on April 7, 2020, by a special

   Jacksonville City Council committee tasked with examining the failure of the JEA privatization




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   process, NextEra did not include Matrix in the list of firms it engaged to work on its proposal or

   lobby on its behalf.

          135.    When confronted with evidence of Matrix’s conduct during the attempted purchase

   of JEA, FPL and NextEra admitted that Matrix had been hired to “assist our company with due

   diligence, public outreach, and communications efforts during the sale process,” but they also

   issued a series of false denials to distance the Company from the alleged conduct.

          136.    Furthermore, as detailed below, when asked directly by reporters whether he had

   been subpoenaed by federal prosecutors in connection with the criminal case against Zahn and

   Wannamacher, Silagy falsely claimed in May 2022 that “we’ve never been subpoenaed,” in

   connection with the prosecution of JEA’s former executives when, in fact, federal prosecutors

   issued a subpoena to NextEra regarding the JEA scandal on April 21, 2020.

                                 i.      Matrix Extended a Phony Job Offer at “Grow
                                         United” to a Jacksonville City Councilor to Try
                                         to Get Him Out of the Way

          137.    In late 2017, Rev. De-Ves Toon (“Toon”), a National Field Director for the

   National Action Network who had recently arrived in Jacksonville, began to organize a new group

   called “Fix JEA Now.”

          138.    Fix JEA Now was substantially, but surreptitiously, funded by FPL, via a network

   of intermediary groups formed and managed by Matrix personnel. Ledgers for multiple businesses

   managed by former Matrix employees, shared with NextEra as part of the Matrix Memo, show

   that more than $180,000 in total payments went to Toon in 2018. Some of these payments are

   specifically related to the JEA initiative. The majority of them refer to FPL as the client who was

   invoiced for the various payments.




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          139.   FPL has now admitted that it was “aware that Matrix was paying Rev. Toon to

   support a number of polling and outreach efforts for multiple clients” and that it “had knowledge

   of the Fix JEA Now organization.” ME 1 confirmed that they worked under Pitts’ instruction and

   on behalf of FPL to establish a website for “Fix JEA Now” in order to “get people fired up to

   divest from JEA.”

          140.   In 2019, during the JEA privatization process, Toon served as the intermediary for

   a dubious employment offer made to Jacksonville City Councilor Garrett Dennis (“Dennis”), a

   fierce opponent of JEA privatization.

          141.   According to the Florida Times-Union, Toon urged Dwight Brisbane, a consultant

   with ties to Councilor Dennis, to contact Dennis and communicate an offer to work for “Grow

   United,” purportedly a group that advocated for marijuana decriminalization. The job offer

   featured a $180,000 yearly salary and compensated travel expenses, but it was contingent on

   Dennis leaving the City Council.

          142.   Dennis later informed reporters that the offer seemed suspicious.          Dennis

   discounted the offer as a scam after seeing that Grow United had no major online presence.

          143.




          144.




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        145.




        146.




        147.




        148.




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          149.




                                  ii.     FPL’s VP of State Legislative Affairs, Daniel
                                          Martell, Was Contemporaneously Aware of
                                          Matrix’s Covert Surveillance of a Journalist

          150.    Throughout the purported sale process, Florida Times-Union reporter, Nate

   Monroe (“Monroe”), wrote a series of columns criticizing JEA for its attempted sale to a private

   buyer. These columns criticized both the sales process and its potential impact on the people of

   Jacksonville. In one column, for example, he wrote, “[e]ven in this town, the total secrecy of the

   negotiation process is a hard sell[. . . .] Everyone is simply supposed to rejoice and ask no questions

   when [JEA CEO Aaron] Zahn emerges from the shadows with a fully negotiated deal.” His

   criticism of a potential deal was especially sharp when he covered FPL’s bid:

          So let’s say Zahn gets his way and JEA is sold to our fake power company, Florida
          Flower and Bright. And let’s say Florida Flower and Bright owns all the service
          territory around Jacksonville, as well as the territory including millions of more
          customers elsewhere in the state. Who actually thinks our made-up utility won’t be
          cutting significant staff after it acquires JEA? Will Florida Flower and Bright
          promise that by 2030 it will still employ 2,000 people? Or will Florida Flower and
          Bright — with a robust network of its own power plants, transmission lines, offices
          and customer-service centers — shuffle around a few regional resources and decide
          it can save money by cutting its newly acquired utility?
          151.    Monroe’s coverage threatened to weaken public support for FPL’s acquisition of

   JEA.


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          152.




          153.




          154.   ME 1 indicated that Martell traveled to Matrix’s offices on multiple occasions for

   in-person meetings. According to ME 1, Martell “reported directly to Silagy” and there were no

   intermediaries between the two FPL executives.



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           155.   Monroe’s coverage of FPL extended into 2020, and Matrix continued to stalk

   him. For example, on October 1, 2020, he published a post headlined “Dear FP&L: It’s Not Really

   Charity if You Get Something Out of It.” The piece chastised FPL for one component of its 2019

   campaign to buy JEA: attempting to sway the votes of Jacksonville city councilors with gifts to

   nonprofits they lead. This article triggered a new round of surveillance. According to the Florida

   Times-Union, Matrix received a photograph of Monroe, his girlfriend, and his dog outside their

   apartment timestamped 5:48 PM on October 14, 2020 ‒ two weeks after the column.

           156.




           157.   When confronted with proof of Monroe’s monitoring, FPL and Silagy made false

   and deceptive statements and denied having requested the report or approved his surveillance.

           158.   FPL went to great lengths to conceal Matrix’s role in the Company’s efforts to buy

   JEA. For example, in response to a subpoena issued on April 7, 2020, by a special Jacksonville

   City Council committee tasked with examining the failure of the JEA privatization process,

   NextEra did not include Matrix in the list of firms it engaged to work on its proposal or lobby on

   its behalf.

           159.   When confronted with evidence of Matrix’s conduct during the attempted purchase

   of JEA, FPL and NextEra ultimately admitted that Matrix had been hired to “assist our company

   with due diligence, public outreach, and communications efforts during the sale process,” but they

   also issued a series of false denials to distance the Company from the alleged conduct.




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          160.    Furthermore, when asked directly by reporters whether he had been subpoenaed by

   federal prosecutors in connection with the criminal case against Zahn and Wannamacher, Silagy

   falsely claimed in May 2022 that “we’ve never been subpoenaed,” in connection with the

   prosecution of JEA’s former executives when, in fact, federal prosecutors issued a subpoena to

   NextEra regarding the JEA scandal on April 21, 2020.

                          b.     FPL and Matrix Orchestrate the “Ghost Candidate”
                                 Scheme

          161.    Matrix personnel kept detailed ledgers of FPL’s political spending, which Pitts’

   team helped surreptitiously direct to at least five spoiler or “ghost” candidates ‒ two in the 2018

   election cycle and three in the 2020 election cycle ‒ used to siphon votes away from candidates

   FPL opposed.

          162.    The majority of Matrix and FPL’s target races involved candidates for the Florida

   State Senate. Florida Senate seats were especially significant to FPL since the Florida Senate is in

   charge of approving members to the FPSC, which supervises FPL and other utility corporations.

          163.    With Silagy’s direct involvement in planning, and FPL personnel involved in

   execution, Pitts and his Matrix subordinates established at least 19 different 501(c)(4) non-profit

   entities to form a “daisy chain” through which FPL money could be effectively laundered to

   support or oppose political candidates, while concealing FPL’s involvement from the public.

                                 i.      Spoiler Candidates in the 2018 Election Cycle
                                         State Senate District 8

          164.    In the run-up to the 2018 election for Florida State Senate District 8, an incumbent

   senator supported by FPL faced a stiff fight from challenger Kayser Enneking (“Enneking”).

          165.    FPL and Matrix initially tried and failed to defeat Enneking during her primary

   election. With Silagy’s direct involvement, Matrix and FPL established a 501(c)(4) entity,




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   Mothers for Moderation, to secretly inject FPL money into the 2018 elections and beyond, starting

   with Enneking’s primary in early 2018. Mothers for Moderation reportedly spent $100,000 on

   mailers and television advertising supporting a political committee called Liberation Ocala that

   backed Enneking’s primary opponent. Mothers for Moderation provided all of Liberation Ocala’s

   funds that year.

          166.    Mothers for Moderation itself was almost entirely funded by FPL. According to an

   internal Matrix ledger obtained by the Orlando Sentinel, FPL donated almost $14 million to

   Mothers for Moderation between August and December 2018 alone, accounting for virtually all of

   the organization’s revenue that year.



          167.




          168.




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        169.




        170.




        171.




        172.




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        173.




        174.




        175.




        176.




        177.




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        178.




        179.




        180.




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          181.                                                                              , Broken

   Promises made a direct $20,000 donation to Charles Goston’s (“Goston”) political committee.

   Goston was a no-party straw candidate who shared Enneking’s political views and entered the race

   with the intention of fragmenting Enneking’s support base. The sole person that contributed to

   this committee was Broken Promises.

          182.    Two weeks later, Broken Promises spent $52,000 in mailings to promote Goston.

   Following the receipt of the second $100,000 installment from FPL, Broken Promises continued

   to support Goston with approximately $63,000 in advertising. The combined value of the two “in-

   kind” advertising gifts was approximately $115,000. These costs made up 71.7% of all the money

   Broken Promises spent in 2018.

          183.    Political participation is allowed for organizations such as Broken Promises, which

   are governed by 26 U.S.C. §501(c)(4) in addition to their general advocacy of “social welfare”

   activities. Nonetheless, the IRS does not view political activity as advancing societal welfare. A

   501(c)(4) organization’s principal goal cannot be to carry out political activities in order to

   preserve its tax-exempt status and, consequently, hide their funders. Assessing whether political

   spending makes up more than half of an organization’s expenses is one general guideline the IRS

   employs to decide whether political activity is a 501(c)(4) organization’s main focus.

          184.    Only $45,000 in expenses were listed by Broken Promises as “Lobbying” in its

   federal tax filings on Form 990. This amount would cover the $20,000 that the organization gave

   to Goston’s political committee and the $25,000 that Broken Promises gave to Consumers for

   Energy Fairness, another PAC.




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           185.    The tax filings of Broken Promises also listed $115,510 (roughly equivalent to the

   entire amount spent on Goston-supporting in-kind advertisements) in “other” spending; however,

   none of these amounts, which added up to 99.6% of the organization’s total expenditures in 2018,

   were disclosed as political spending. Rather, in response to the inquiry, “[d]id the organization

   engage in direct or indirect political campaign activities on behalf of or in opposition to candidates

   for public office?[,]” Broken Promises said “No,” and accordingly did not submit the necessary

   Form C disclosure along with its Form 990 disclosing political contributions. After studying

   Broken Promises’ tax returns, a Loyola Marymount University tax law professor who was

   interviewed by the Tampa Bay Times in August 2022 verified that this depiction did, in fact, “not

   seem accurate at all,” considering that Broken Promises’ 2018 spending would be considered

   “political activity.”

           186.    Companies such as FPL are also permitted to contribute to politics. However, it is

   illegal under federal and Florida law to conceal political contributions via “straw” donors like

   Broken Promises. Giving money under another person’s name is forbidden by the Federal Election

   Campaign Act (“FECA”) and Florida law bars giving money “through or in the name of another,

   directly or indirectly, in any election.” FLA. STAT. §106.08(5)(a).

           187.    When the media began to question FPL’s involvement in the 2018 District 8 contest

   in August 2022, FPL did not refute having contributed to Broken Promises.

           188.    In an interview with the Tampa Bay Times for a story published on August 8, 2022,

   a tax law expert from the University of Pittsburgh Law School said that FPL’s use of Broken

   Promises to hide contributions in favor of Goston “tells you they have concerns about disclosing

   their support of this candidate to voters and they had some intention to hide it.”




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          189.    Enneking was defeated by less than two thousand votes. Enneking asserted that

   during “policy debates” with Goston, “there was not one iota of difference between what he was

   advocating for and what I was advocating for,” except to the extent the similarities would help to

   effectively siphon votes from Floridians who could not distinguish between the two.

          190.    At $145,000, Goston’s campaign budget was significantly less than that of

   his opponents in the District 8 race. Enneking told the Tampa Bay Times in August 2022 that

   sponsoring a spoiler candidate was a “cheap way to siphon votes off.”

          191.    On December 17, 2020, a nonpartisan, nonprofit watchdog group called Citizens

   for Responsibility and Ethics in Washington (or “CREW”) filed a complaint with the IRS,

   requesting an investigation into whether Broken Promises “violated federal law by failing to

   properly disclose its political contributions” in 2018.    According to the complaint, Broken

   Promises engaged in political activism as its principal activity in 2018 and neglected to disclose

   its political spending on Form 990 in violation of 26 U.S.C. §§501(c)(4) and 6652. Two weeks

   later, Broken Promises filed for dissolution.

                                 ii.     Commission District 8 of Miami-Dade County

          192.    FPL opposed an incumbent candidate in the 2018 Miami-Dade County

   Commission District 8 race, Daniella Levine Cava (“Levine Cava”). Levine Cava had previously

   fought FPL plans related to its Turkey Point nuclear power plant.

          193.    In   early   2018,    a   website     smearing   Levine   Cava    as   an   elitist,

   KeepingUpWithCava.com, went live. Unbeknownst to the public, Matrix, funded by FPL, set up

   the website.




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          194.




          195.    Unfortunately for FPL, Levine Cava’s base of support remained strong, and she

   seemed likely to win outright in the upcoming August 2018 election. Pitts and his associates at

   Matrix, therefore, hatched a plan to split Levine Cava’s base in two by introducing a politically

   similar challenger. Matrix did not have any hope or desire for the challenger to win, but believed

   he could eat into Levine Cava’s support enough to force her into a run-off with her opponent, Gus

   Barreiro (“Barreiro”).

          196.    According to a story published on August 25, 2022, by the Miami Herald, Matrix

   focused its efforts on Johnathan Burke (“Burke”), a 33-year-old man with several arrests on his

   record who had never run for office before. Pitts had met Burke on June 11, 2017. The next day,

   Pitts texted Burke: “look forward to working together.”




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          197.    A little over a week after meeting Pitts, on June 20, 2017, Burke spoke at a city

   commission meeting in South Miami in opposition to a proposed ordinance which would require

   contractors to install solar panels on newly constructed residences. FPL at the time was strongly

   against the ordinance.

          198.    To support Burke’s 2018 candidacy, Matrix secretly sent $12,000 in FPL funds to

   a political strategy firm called PDG Strategies brought in to advise Burke’s campaign. An

   executive at PDG Strategies confirmed that Matrix paid PDG Strategies to work on Burke’s

   campaign, as reported in the August 25, 2022, Miami Herald story.

          199.    These funds were not, however, the only support FPL provided for the candidate.

   Using $120,000 in FPL funds, routed through an Alabama-based company called Tarella, Inc.

   (“Tarella”), Pitts (i) paid Burke a $60,000 salary in 2017 and (ii) paid $2,300 per month starting

   in 2017 to cover the rent for Burke’s home in Miami-Dade District 8, according to internal Matrix

   financial records, emails, and text messages the Miami Herald obtained and reported on in the

   August 25, 2022, story. The Miami Herald reported in the same story that “[s]everal of the

   payments to Tarella [we]re marked ‘Miami Dade Election’ or ‘County Commission,’” and “[a]ll

   the transactions were listed as being made with FPL funds.”

          200.    Because Burke needed to live in Miami-Dade Commission’s District 8 for six

   months to be able to run against Levine Cava, Pitts made arrangements to move him to a home in

   Cutler Bay on FPL’s dime. Tarella ‒ a firm founded by a former Matrix lobbyist, Paul Hamrick

   (“Hamrick”), who was working closely with Pitts and sometimes out of Matrix’s office ‒ wrote a

   letter to Burke’s landlord on August 23, 2017, memorializing an oral agreement for Tarella to pay

   Burke’s $2,300 rent, according to documents obtained by the Miami Herald. The letter suggested




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   that it was important to Burke to stay in the area because of the “school district,” and added “it

   certainly is important to this company for his residence to be resolved.”

          201.    On February 6, 2018, Hamrick texted Pitts, alerting him that Burke’s rent was due,

   but Tarella had insufficient funds to pay it. Pitts asked for Hamrick to forward along the invoice

   so he could “take care of it.” A Matrix ledger showed that, the next day, Matrix sent $2,500 to

   Tarella with a note that the money had come from FPL funds.

          202.    On March 13, 2018, according to the Matrix documents obtained by the Miami

   Herald, Hamrick sent an email message to Pitts with the subject line “Miami.” Hamrick told Pitts

   they needed to get Burke to announce his candidacy for the upcoming election, and that he thought

   Burke would be “effective if we just have a plan we make him follow.”

          203.    On August 28, 2018, Levine Cava was reelected with 62% of the vote. Matrix’s

   plan failed, but this was primarily due to Barreiro’s poor showing (he received just 21% of the

   vote). The spoiler candidate, Burke, had successfully attracted 17% of votes.

          204.    Another individual, Dan Newman (“Newman”), also worked to advise Burke.

   Newman was a Matrix subcontractor who had previously worked as a lobbyist at a firm

   representing FPL and as a fundraiser for the Florida Democrats’ Legislative Campaign Committee.

   Newman sent a text message to Pitts and MacIver sharing the election results on August 28, 2018.

   MacIver responded: “Well that’s a respectable vote number for JB. If [B]arriero had done a decent

   job our plan might have paid off.”

          205.    After the election, Pitts suddenly ceased almost all contact with Burke. On October

   26, 2018, Burke texted Pitts stating that he had “not heard much since Election Day” and asking if

   he should “expect to see or hear from anyone again or is this the end of the road?” Pitts did not

   respond. Then, on Wednesday, February 27, 2019, Burke texted Pitts acknowledging that “Friday




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   March 1st marks the conclusion of our agreement and will be the last time I have to bug you about

   funds, unless further work is agreed upon.” Again, Pitts did not respond.

          206.    Levine Cava ran for Mayor of Miami-Dade County in 2020, winning the election

   on November 3, 2020. While a candidate in the lead-up to the mayoral election, a news website

   called the Capitolist ran a piece attacking Levine Cava on June 4, 2020. As described more fully

   below, the Capitolist at the time was being funded by FPL, through a Matrix shell entity which

   had executive and editorial control over the news website. Silagy and Martell in particular were

   frequently consulted for approval or edits to stories and requested pieces on particular subjects.

          207.    According to the August 25, 2022, report in the Miami Herald, the day the June 4,

   2020, Capitolist piece attacking Levine Cava was posted, FPL Vice President of External Affairs

   and Economic Development Pam Rauch texted Pitts: “She deserves this!” in response to the story.

   Silagy responded to the story via a text to Pitts the next day: “Love it!”

                                  iii.    Ghost Candidates in the 2020 Election Cycle

          208.    In mid-2020, several of FPL’s favored candidates for Florida State Senate seats

   were locked in tight races with candidates the Company disfavored and actively wished to unseat.

   Taking the lessons they had learnt from the 2018 election cycle into 2020, Matrix and FPL used

   similar, if not more sophisticated, covert strategies to steal votes from FPL’s political rivals.

          209.    The scheme centered on running and promoting at least three “ghost” candidates ‒

   persons who had no interest in campaigning or actually holding elected offices but who were paid

   or otherwise induced to enter the race merely to divert votes away from legitimate candidates. In

   a close election, the ghost candidates would be pushed using fictitious names, platforms, or other

   characteristics that resembled the unpopular candidates to divert enough votes to swing the result.




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           210.    The three ghost candidates were Jestine Iannotti (“Iannotti”) in Senate District 9,

   Alex Rodriguez in Senate District 37, and Celso Alfonso in Senate District 39.

           211.    Frank Artiles (“Artiles”), a former senator of District 40, was actively involved in

   the scheme. Prosecutors from the Miami-Dade State Attorney’s Office claim that Artiles made

   former Major League Baseball player Alex Rodriguez an offer of $50,000 to run in the District 37

   election.

           212.    At the time, Artiles was employed as a contractor by the nonprofit organization

   “Let’s Preserve the American Dream” (LPAD), where he reported to Alex Alvarado (“Alvarado”),

   a political operator.

           213.    According to documents made public by the Miami-Dade State Attorney’s Office,

   Artiles has received $125,000 from LPAD for “South Florida research services” since 2017. The

   last payment to Artiles was November 15, 2020, three days after District 37 incumbent Senator

   Jose Javier Rodriguez (“Senator Rodriguez”) lost in a manual recount.

           214.    LPAD, in turn, was associated with a lobbying entity called “Associated Industries

   of Florida,” or “AIF.” LPAD operated out of AIF’s building, and AIF’s former Vice President,

   Ryan Tyson (“Tyson”), was listed as LPAD’s executive director in 2020 according to LPAD’s

   2020 Form 990, filed on November 17, 2021. The Orlando Sentinel reported on July 30, 2021,

   that “Alvarado sometimes forwarded Artiles’ invoices to an executive at AIF,” and reported on

   November 18, 2021, that FPL was an AIF member and one of AIF’s biggest donors.

           215.    LPAD did not disclose its donors in 2020. A prior entity with the same name as

   LPAD, however, was run by the same person and out of the same address from 2014 to 2016. That

   entity, which was organized at the state level in Florida and was required to disclose its donors,

   was funded by FPL, according to a November 18, 2021, Orlando Sentinel story.




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          216.    The ghost candidates were promoted by two political committees: “The Truth,”

   which sent mailers supporting Iannotti in Senate District 9, and “Our Florida,” which sent similar

   materials in support of Alex Rodriguez and Celso Alfonso to voters in Districts 37 and 39,

   respectively. Both committees were run by LPAD’s Alex Alvarado, and like LPAD, were run out

   of AIF’s headquarters.

          217.    Unlike the 2018 spoiler candidates backed by FPL, who at least pretended to

   promote themselves through cheap, bare-bones campaigns, the 2020 ghost candidates did almost

   no campaigning on their own behalf. Instead, The Truth and Our Florida spent $550,000

   promoting the ghost candidates. For example, as the Orlando Sentinel revealed over a year later,

   residents of Seminole and Volusia counties received mailers promoting Iannotti in the weeks

   leading up to the 2020 elections. The woman depicted on the mailers was Black, and the mailers

   stated that she supported social justice and campaign finance reform. In fact, Iannotti was

   Caucasian and was planning to relocate to Sweden at the time.

          218.    The official chairperson of the committee behind Iannotti’s promotional material,

   “The Truth,” was also merely a figurehead. Because political committee chairs must be disclosed,

   the LPAD political operative behind “The Truth,” Alvarado, paid a 25-year-old college student

   named Hailey DeFilippis $1,500 to sign the committee’s registration forms. Alvarado paid another

   woman, Sierra Olive, 23, $2,000 to sign the paperwork making her the official chairperson of “Our

   Florida.”

          219.    “The Truth” and “Our Florida” were entirely funded by Grow United, the same

   501(c)(4) organization that FPL and Matrix used the year before to offer Jacksonville City

   Councilor Garrett Dennis a job in exchange for resigning from the council. Grow United

   contributed $550,000 to The Truth and Our Florida in order to fund the ghost candidate scheme.




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   Odom, who was working for Matrix at the time, and LPAD’s Alvarado coordinated the payments.

   Richard Alexander, Odom’s brother, was officially listed as Grow United’s chairman, but like the

   others, Alexander was a figurehead, designed to conceal Odom’s and Matrix’s involvement.

          220.    According to the Securities Complaint,




          221.    According to LPAD’s 2020 Form 990, Grow United received $1.15 million in

   “general support” funding from LPAD in 2020. At least $600,000 of that total was set aside for

   the political committees that promoted the phantom candidates.

                         c.      Matrix and FPL Established and Funded the Ghost
                                 Candidates’ Funding Structure

          222.    Although FPL and Matrix went to great lengths to conceal their involvement from

   the public, the funding that flowed through Grow United to prop up the ghost candidates was

   carefully planned by Pitts, Silagy, and their associates. The Orlando Sentinel reported on

   December 2, 2021, confirming that Matrix consultants who controlled Grow United, “the dark-

   money nonprofit at the center of the ‘ghost’ candidate scandal, billed FPL for more than $3 million

   days before they began moving money through the entity.” Matrix, in particular, sent invoices to



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   FPL via several entities, including TMP Interactive, People Over Profits, and ENH Industries, and

   directed the funds to Grow United, which in turn funded the two committees that paid for the

   mailers promoting the ghost candidates’ campaigns. The article went on to say, “FPL has donated

   more than $10 million in recent years to other dark-money non-profits controlled by some of the

   same consultants [Matrix] - and FPL CEO and President Eric Silagy has personally coordinated

   with those consultants on campaign contributions made through their nonprofits.”

          223.    In the run-up to the 2020 election, FPL was particularly concerned that incumbent

   Senator Jose Javier Rodriguez would keep his seat in District 37. During his tenure, Senator

   Rodriguez opposed FPL’s plans to expand a nuclear plant in South Florida and frequently irritated

   FPL executives with his policy positions in favor of deregulating private energy production and

   sale. According to a July 22, 2022, Orlando Sentinel report, FPL admitted that it “wanted the

   veteran senator out of office.”

          224.    According to the report, on January 7, 2019, Reuter sent an email with the subject

   “Florida Lawmaker Again Files Bill That Would Help Break Monopoly-Solar Stranglehold” to

   Defendants Robo, Silagy, and other NextEra personnel. The message included a story from the

   Miami New Times about a bill introduced by Senator Rodriguez that would allow “property owners

   to sell home-generated solar power to others, including tenants,” without being regulated like a

   traditional “public utility.” According to the story, Florida’s energy utilities, including FPL, were

   concerned about the possibility of individual property owners competing in the energy market.

   The story quotes Senator Rodriguez as saying, “[s]imply put, the big utilities use their political

   muscle to maintain outdated monopolies.”

          225.    Later that morning, on January 7, 2019, Defendant Silagy forwarded Reuter’s email

   about Senator Rodriguez’s bill to Martell and FPL Vice President of Government Affairs John




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   Holley. Silagy’s message, in its entirety, read: “JJR at it again. I want you to make his life a living

   hell [. . .] seriously.”

           226.     Martell forwarded Silagy’s message to Jeff Pitts the same day.

           227.     Matrix asked Dan Newman, a Matrix subcontractor who had previously worked as

   an FPL lobbyist, to devise a strategy to remove Senator Rodriguez. Records from a criminal

   investigation into the ghost candidate scheme, released on January 18, 2022, revealed that Tyson

   told prosecutors Newman was working as a contractor for LPAD.

           228.     According to the Miami Herald, Newman wrote a memo to Pitts on June 5, 2019,

   suggesting that a competing primary candidate could defeat Senator Rodriguez. The memo

   warned that if Senator Rodriguez kept his seat after the 2020 election, he would “have increased

   significance” due to his seniority in comparison to other officials. Although Newman’s memo

   focused on a primary challenge, and no primary challenge was mounted against Senator

   Rodriguez, it suggested a strategy similar to that used by the ghost candidate scheme in the general

   election: support a legitimate opponent to Senator Rodriguez while simultaneously bringing in a

   third candidate to “Capture His Base” by “run[ning] a campaign to reduce JJR’s support among”

   his own core voters. However, Newman cautioned that more research was needed to determine

   whether the spoiler candidate would steal more votes from Senator Rodriguez or his opponent.

           229.     According to Newman’s memo, challenging Senator Rodriguez could cost $3.35

   million to $3.8 million, including $500,000 to support the third, spoiler candidate. Because “[i]n

   all likelihood, they will not have their own fund,” Newman’s budget included $450,000 for the

   promotion of the third candidate and $50,000 to build a “credible team.” The memo requested that

   $3 million of the total budget come “from the client.” These sums are notable for being nearly

   identical to what FPL contributed to Grow United just before it funded the ghost candidate




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   committees ($3 million), and just shy of what Grow United ultimately contributed to the ghost

   candidate committees ($550,000).

          230.    According to the Securities Complaint, on June 20, 2019, Martell sent Pitts an email

   with the subject “things to go over.” Martell’s list contained two of the four items: “SD 39” and

   “SD 37.”

          231.    A month later, at 1:30 PM on July 19, 2019, Pitts met with Silagy, Julie Holmes

   (an NEE vice president), and others to discuss “Dereg Budget,” according to an internal Matrix

   calendar. The meeting was scheduled on Pitts’ calendar to take place in “Eric’s office.”

          232.    On October 3, 2019, Tyson sent an email message from his LPAD email address to

   Martell’s FPL email address, with the subject line “Items you requested.” The email attached

   Newman’s June 2019 memo. The email began with the salutation “Danny ‒” and Tyson wrote

   that the attached memo was “our original proposal into SD 37[. . . .]” The attachment was titled

   “SD37 JJR PROPOSAL.pdf.”

          233.    Then, on October 9, 2019, Martell sent Pitts a text message reading: “We need to

   catch up this pm. Eric has an ask.” The two arranged to have a phone call at 5:00 PM that evening.

          234.    Shortly thereafter, Pitts retained an attorney to help create legal entities for use as

   funding vehicles for FPL’s activities related to the 2020 election.




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          235.   According to the Securities Action, on October 21, 2019, Pitts met with at least

   Martell and Tyson. According to text messages between Pitts and Martell, Pitts picked up Martell

   and Tyson from the airport. “Onboard plane. See you soon. Tyson coming with us from airport,”

   Martell said in a message to Pitts, to which Pitts affirmed that he would be waiting “outside

   baggage claim.”

          236.




          237.




          238.




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             239.




             240.   According to the Securities Complaint, on November 22, 2019, the Foley &

   Lardner attorney sent Pitts another email message with a revised plan to form SUN Marketing as

   a C Corporation rather than a S Corporation attached. The email stated that “Pam sent an email

   earlier today [. . .] suggesting that the project was on hold[. . . .] I think that the whatever decision

   was made was from an internal FPL perspective[. . . .]” The email suggested, “[i]f FPL is getting

   concerned about having an officer in the ownership role,” Foley & Lardner could serve as directors

   for a fee.

             241.   The email also stated, “[y]esterday you asked me a series of questions about how a

   C Corp would be handled.” Below, the attorney provided answers to a number of these questions,

   including, “[i]s the owner’s name still free from public inspection?” Yes,” and “Does this affect

   the possibility that FPL would have to report the revenue of SUN on their balance sheet?

   Unfortunately, as long as an officer of FPL is the owner, the reporting requirements may still

   apply.”

             242.   According to the Securities Complaint, a slide deck attached to the November 22,

   2019, email described 501(c)(4) organizations, with one benefit listed as: “Contributions to the




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   general operating fund of a (c)(4) are generally not publicly disclosed.” (Emphasis removed.)

   Another slide on 501(c)(4) organizations stated, “Political activity can include activity supporting

   or opposing candidates as long as these activities are not the entity’s primary purpose.” (Emphasis

   removed.) Another slide went on to say: “Federal and Florida law does not require donor

   disclosure if contributions are made for general purposes without being earmarked for a particular

   purpose.”

          243.




          244.




          245.




          246.




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        247.




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        248.




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          249.




          250.



          251.   SUN Marketing & Advertising (“SUN Marketing”) was incorporated in Delaware

   on December 13, 2019, approximately two weeks after Silagy received the Funding Memo and

   Legal Memo.    On December 17, 2021, Reuter admitted to the Orlando Sentinel that FPL

   contributed $250,000 to SUN Marketing in December 2019 ‒ at most two weeks after its official

   formation. Reuter also stated that FPL believed Matrix controlled SUN Marketing.

          252.




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        253.




        254.




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          255.




          256.   On September 17, 2020, Pitts sent Holmes another $1 million invoice, ostensibly

   for consulting and research. On this invoice, which was also attached to the Matrix Memo, the PO

   number was left blank. Overall, as detailed in the memorandum, Pitts directed $1,994,500 of the

   FPL funds received in September 2020 into People Over Profits, a nonprofit organization

   connected to Newman that was a major source of funds for Grow United, which seeded the two

   committees used to promote the ghost candidates, as described above.

          257.




          258.



          259.




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          260.




          261.




          262.



          263.   According to the Securities Complaint, documents obtained through a public

   records request to the Florida State Attorney’s Office, Miami-Dade and Seminole Counties, filed




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   by the Florida Center for Government Accountability confirm the amounts stated above were

   transferred from Grow United to the Truth and Our Florida.

          264.    The documents showed a $100,000 wire transfer and $80,000 check from Grow

   United to The Truth on October 2, 2020, exactly as described in the messages, and a record from

   the Florida Department of State Division of Elections showing a $370,000 contribution from Grow

   United on October 3, 2020.

          265.    According to the Securities Complaint, on October 16, 2020, MacIver forwarded

   to Tyson a POLITICO news story titled “Mystery donor spends $180K on Florida political mail.”

   The story concerned The Truth’s $180,000 in mailers and questioned who was funding it. The

   story reported “[a]s recently as May, the phone number listed as by [sic.] the committee in

   campaign finance records also appeared in online advertising for female escorts.” MacIver wrote:

   “These dark money groups are be[coming] pervasive[.]” “[F]or the record,” Tyson wrote in a

   responsive email that same day, “there was no way to know this was an escorts number. That’s a

   random thing they assign AA on the app.” “I think it’s hilarious and just makes them more

   confused,” MacIver responded to Tyson and Pitts.

          266.    According to the Securities Complaint, on October 27, 2020, less than a week

   before the November 3 election, a consultant for Public Concepts, LLC (“Public Concepts”), sent

   MacIver an email with the subject line “Danny Request.” The consultant, Richard Johnston, and

   Public Concepts had previously worked with Matrix on an attack campaign against South Miami

   Mayor Phil Stoddard in 2018, which FPL later admitted it played a role in. Public Concepts also

   helped FPL gain control of the Capitolist, as described below.

          267.    Johnston’s message read: “Danny asked for a report he can show to WS on Friday,”

   including a “[m]ap of the doors canvased in SD 37 and SD 39.” On information and belief, the




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   “Danny” referenced in the message is Daniel Martell, who commonly went by “Danny.” ME 1,

   who attended approximately a dozen meetings with Martell at Matrix’s offices, referred to Martell

   as “Danny”; Tyson’s email to Martell on October 3, 2019, used the salutation “Danny ‒”; the

   Matrix Memo references a bank account Pitts referred to as the “Danny special”; and Newman, by

   contrast, went by “Dan.” Further, Martell had previously listed “SD 37” and “SD 39” as things to

   “go over” with Pitts in June 2019, not long before a meeting Pitts had with Silagy in the latter’s

   office. Additionally, as the Securities Complaint explains, “WS” was likely meant to refer to Eric

   Silagy. “W” and “E” are adjacent on a keyboard, making a typo likely, and both Martel and Matrix

   personnel routinely used “ES” to refer to Silagy in text messages and emails (e.g., in a message

   stating “ES” wanted the Capitolist to run a story on December 21, 2019; Pitts referred to Silagy as

   “ES” in a May 7, 2020 email; MacIver referred to Silagy as “es” in an August 27, 2020 email). As

   alleged in the Securities Complaint, no other relevant Matrix, Public Concepts, or senior FPL

   officer had the initials “WS,” or “ES.” Accordingly, Plaintiff adopts the reasoning in the Securities

   Complaint that the email supports the inference that Silagy received reports on canvasing in at

   least two of the ghost candidate races just a week before the election. MacIver forwarded the

   message to Pitts on October 29, 2020.

          268.    On November 19, 2020, Matrix received an invoice from Foley & Lardner, the law

   firm that Pitts hired in October 2019 to help him and Silagy set up the chain of entities that would

   allow FPL to fund political activity discretely in the 2020 election. The invoice was discovered

   during a Matrix internal investigation in a folder labeled “FPL_2019_Vendor_Invoices.” It related

   to charges for work performed on behalf of Grow United, such as filing IRS submissions and

   annual reports in Delaware, as well as filings for Proclivity, Inc., Antithesis, Inc., and The Center

   for Advancement of Integrity and Justice ‒ the entity controlled by Odom that Silagy had




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   previously used in connection with Mothers for Moderation in 2018. According to Matrix records,

   the Foley & Lardner invoice was invoiced to FPL and listed as an “FPL_2019 Vendor Invoice”;

   the invoice was attached to the Matrix Memo.

          269.    The ghost candidate scheme worked exactly as planned. FPL’s preferred candidate

   won each of the three races. In District 37, Alex Rodriguez, a ghost candidate who shares Senator

   Jose Javier Rodriguez’s last name (as well as a well-known former professional baseball player

   from South Florida), received over 6,000 votes despite doing nothing to campaign for himself.

   Senator Rodriguez was defeated by Ileana Garcia by only 32 votes out of over 210,000 cast in the

   election. Meanwhile, FPL’s ghost candidate Iannotti received 5,000 votes in District 9, but FPL’s

   preferred candidate won that race by a 7,000-vote margin.

          270.    The ghost candidate scheme came under the scrutiny of prosecutors in Miami-Dade

   County. On March 18, 2021, Artiles surrendered to authorities, a day after police raided his home.

   He was charged with felony campaign finance violations, including conspiracy to make or receive

   illegal campaign contributions.

          271.    The Orlando Sentinel reported on August 24, 2021, that Alex Rodriguez had pled

   guilty to accepting approximately $45,000 in bribes to run in the District 37 senate race. Rodriguez

   agreed to three years of probation, including a year under house arrest wearing a GPS monitor,

   and to cooperate in the Artiles investigation. Rodriguez, according to the Sentinel, “was struggling

   financially when [Sen. Frank] Artiles approached him [in 2020] and offered him $50,000 to file to

   run as an independent” in District 37’s neck-and-neck race.

          272.    On January 5, 2022, the Orlando Sentinel reported that several people and entities

   connected to the ghost candidate scandals, including Alvarado, Alexander, Newman, and LPAD,

   had received “prior to” letters from Miami-Dade prosecutors. According to an interview with a




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   law professor at Florida International University, a “‘prior to’ letter from the State Attorney’s

   Office typically alerts someone they are the target of an investigation and gives them a chance to

   sit for an interview with prosecutors.” The story also stated that prosecutors had spoken with

   MacIver.

          273.    According to the Securities Complaint, an email sent by the Miami-Dade State

   Attorney’s Office to a Foley & Lardner attorney on July 12, 2021, billing records produced in

   response to a subpoena included “billing records between Foley & Lardner and Let’s Preserve the

   American Dream,” demonstrating that the same firm was representing LPAD and doing work for

   Matrix (work billed to FPL) to set up a funding structure for the 2020 elections.

          274.    The Orlando Sentinel reported on May 25, 2022, that Iannotti, the District 9 ghost

   candidate, had been arrested and charged with multiple misdemeanors and a felony for her role in

   the scheme, including accepting an illegal $1,200 straw contribution.

                          d.      The 2020 Funding Structure for FPL’s Spending with
                                  Matrix Was Designed to Evade Detection

          275.    On October 2022, CREW filed a complaint with the Federal Election Commission

   (“FEC”), asking the agency to investigate Grow United, the Center for Advancement of Integrity

   and Justice, Florida Promise, Broken Promises, Richard Alexander (Odom’s brother), “Unknown

   Respondents,” and several other entities and the persons listed as their chairs for violations of the

   Federal Election Campaign Act.

          276.    The “Unknown Respondents,” which CREW said “may include corporations like

   Florida Power & Light,” were identified as the person or persons who were “the true sources of

   contributions [. . .] that were falsely attributed to conduit entities Grow United, the Center for

   Advancement of Integrity and Justice, Florida Promise, Broken Promises, and Stand Up for

   Justice.” CREW’s complaint, which only concerned five “federally registered super PACs” and



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   only concerned the 2020 election cycle, alleged that $1.27 million had been improperly funneled

   through five nonprofits and tied Matrix and Pitts to the super PACs.




          277.    A chart in the CREW complaint depicted the flow of funds from the five Matrix-

   controlled entities to the five federally registered super PACs. The chart showed which of these

   entities were mentioned in the memos sent to Defendant Silagy on November 26, 2019:

          278.    CREW tracked contributions from the five Matrix-controlled entities to federal

   super PACs involved in federal elections using public records.




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          279.    On March 31, 2020, for example, Stand Up for Justice gave $50,000 to South

   Florida Residents First, a super PAC supporting a single candidate for a U.S. House of

   Representatives seat in Florida. Stand Up for Justice was officially chaired by Pitts’ longtime

   friend Anderson.

          280.    On July 9, 2020, LPAD transferred $26,000 to Broken Promises, the entity

   nominally chaired by Pitts’ longtime friend, Anderson, who also chaired other entities that Pitts

   assured FPL were “100percent” under Pitts’ control. Broken Promises donated $20,000 to

   Concerned Conservatives, Inc., a super PAC supporting a single candidate for a U.S. House of

   Representatives seat in Florida, five days later, on July 14, 2020. The contribution was the super

   PAC’s fourth largest in the 2020 election cycle.

          281.    On October 27, 2020, Grow United contributed $100,000 to Wingman PAC, a

   super PAC that supports a single candidate for U.S. House of Representatives in Florida. During

   the 2020 election cycle, Grow United contributed more than twice as much as the next highest

   contributor to Wingman PAC.

          282.    Also on October 27, 2020, the Center for Advancement of Integrity and Justice

   contributed $100,000 to a super PAC supporting another U.S. House of Representatives seat in

   Florida, American Valor PAC. This was the largest donation received by American Valor PAC,

   which spent $286,000 total during the 2020 election cycle. Alexander registered the Center for

   Advancement of Integrity and Justice, but it was controlled by Odom and Matrix.

          283.    On December 8, 2020, Florida Promise donated $1 million to the Senate Leadership

   Fund super PAC. Alexander was the official chairperson of Florida Promise, but the entity was in

   fact controlled by Matrix, as evidenced by the memorandums sent to Defendant Silagy on

   November 26, 2019.




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          284.    According to the Securities Complaint, a ledger of contributions to the Senate

   Leadership Fund produced in response to a public records request filed by the Florida Center for

   Government Accountability with the Florida State Attorney’s Office confirms that Florida Promise

   made a $1,000,000 contribution to the Senate Leadership Fund on December 8, 2020.

          285.    FPL was the ultimate source of the funds that were improperly funneled through

   intermediaries to Super PACs for the express purpose of concealing the identity of FPL.

          286.    To date, the “ghost candidate” scandal has resulted in multiple investigations,

   criminal prosecutions, and a conviction. In exchange for agreeing to testify against Artiles, the

   former Florida state legislator with longstanding ties to FPL, Alex Rodriguez, the “ghost

   candidate” who ran in Florida Senate District 37, pleaded guilty to accepting two or more campaign

   contributions in excess of legal limits and a related conspiracy charge. On September 30, 2024, a

   jury found Artiles guilty of three felony counts of campaign finance violations stemming from the

   scheme.13

                         e.      Silagy Used Matrix to Gain Covert Control of an
                                 “Independent” News Website that FPL Used to Attack
                                 Competitors

          287.                                    FPL and Matrix arranged for a Matrix-controlled

   entity to acquire control of a Florida-based news website called the Capitolist. FPL and Matrix

   then used the Capitolist to publish articles supporting FPL and NextEra-backed priorities, such as

   rate hikes and the attempted acquisition of JEA, while also disparaging political opponents and

   media outlets that had reported unfavorably on the Company.

          288.    The Capitolist bills itself as a digital news website focusing on “Florida business,

   policy, and politics.” It was founded in 2016 by Publisher and Editor-in-Chief Brian Burgess


   13
          Verdict Sheet, Florida v. Artiles, No. F-21-4768B (Fla. Cir. Ct. Sept. 30, 2024).


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   (“Burgess”). Burgess was beholden to Matrix and FPL regarding site content between at least

   2018 and 2021. Articles posted on the Capitolist were pre-screened by Matrix personnel and

   frequently by FPL officers themselves, and a former FPL executive was formally brought in to

   oversee the site’s content in September 2020.

          289.    Silagy and Martell began demanding that the Capitolist publish stories attacking

   specific reporters and political candidates running for office as early as 2018, implying that FPL

   was effectively spending money on political advertising related to specific elections, just as it had

   with the mailers sent out in support of the ghost candidates. And, as with the ghost candidate

   schemes, FPL funded and ran the Capitolist covertly, using intermediary “straw” entities

   controlled by Matrix to conceal its own involvement. At one point, FPL even paid the salary of

   the ex-FPL executive hired to manage the Capitolist through SUN Marketing, the same entity

   conceived in November 2019 as the first link in the daisy chain for FPL funds to LPAD and

   political campaigns.

          290.




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              291.   According to the Miami Herald, October 19, 2018, MacIver texted Martell a link

   to a Capitolist article critical of a proposal to allow utility customers to choose any electricity

   provider they wanted. The title of the article was: “Can you hear me now? Verizon hurricane

   troubles underscore danger of deregulating power companies.” MacIver texted Martell asking if

   he wanted to have the title “changed from specifically mentioning power companies?” She later

   followed up: “Let me know if you’re good.” Martell replied: “I think it’s ok.” MacIver responded

   with a thumbs-up emoji and asked, “anywhere in particular you want me to target?”

              292.   According to the Miami Herald, on November 3, 2018, three days before the 2018

   election, Martell texted MacIver asking for the Capitolist to publish a piece critical of a

   gubernatorial candidate, Andrew Gillum. Martell dictated that the article should state Gillum’s

   campaigning had led him to neglect his duties as Mayor of Tallahassee. Martell suggested

   language: “Since the primary xxx shootings have happened in Tallahassee.” Within three hours,

   the Capitolist published an article attacking Gillum. The second sentence of the article implied

   Gillum was responsible for “a crime wave of murders, robberies and shootings in Tallahassee.”

   After MacIver texted him a link to the story, Martell ordered: “Promote the @&;$&!!! Out of this.”

              293.   According to the Securities Complaint, MacIver forwarded a proposed article by

   Burgess to Martell’s personal gmail.com email address on March 8, 2019, with the subject line

   “Was about to publish [. . .] decided to ask you first.” Martell confirmed that he approved of the

   article.

              294.   On April 1, 2019, Burgess published a story in the Capitolist titled “Documents

   suggest Florida’s largest companies are secretly sabotaging effort to protect power lines from

   hurricane damage.” The story railed against what Burgess described as a “wealthy special interest




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   group” which he wrote was resisting “funding authorization needed for Florida’s major utility

   companies” to protect Florida’s electric grid.

            295.   FPL evolved from sponsor to formal overseer of the Capitolist when, on September

   20, 2019, MacIver executed a purchase option agreement with the Capitolist on behalf of Metis

   Group (the September 20, 2019, agreement amended an earlier version dated July 22, 2019). In

   exchange for $50,000, Metis Group gained “executive control” over the Capitolist and a 1%

   ownership stake. Metis Group also gained the option to buy a controlling 52% share in the

   Capitolist for $195,000 (minus the already paid $50,000). The purchase option agreement is

   attached to the Matrix Memo.

            296.   According to the Securities Complaint, a slide presentation later shared with Silagy

   in June 2020 stated that the purchase agreement granted Metis Group “executive oversight of

   Capitolist operations and functional legal control for the purpose of any branding or merger

   negotiations.” Metis Group was the site’s primary sponsor, contributing more than $17,500 per

   month.

            297.   According to the Securities Complaint, on Saturday, December 21, 2019, Martell

   texted MacIver a link to a story regarding allegations of ballot collection violations. “Ok so now

   The Cap needs to weigh in. ES asking,” Martell wrote to MacIver. On information and belief,

   “ES” stood for “Eric Silagy,” whom Martell directly reported to at FPL and who was the only

   other FPL employee documents show had asked for particular Capitolist stories to be written.

   MacIver responded, demonstrating the granular level of involvement Matrix and FPL exercised

   with respect to the Capitolist: “Ok can get that moving. Do we want to wait until the lake county

   letter goes/confirmed has gone too and do a compilation of both/all the calls for action?”




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          298.    According to the Miami Herald, on April 16, 2020, Pitts forwarded an email

   message from Burgess to Silagy’s personal Yahoo.com account and Martell’s personal gmail.com

   account discussing an idea to buy additional news outlets “stealthily so we could inject content [.

   . .] and nobody needs to know who’s pulling the strings[.]” Pitts wrote to Silagy and Martell,

   describing the idea as “a good concept/observation.”

          299.    According to the Securities Complaint, on May 4, 2020, Silagy sent Pitts an email

   with the text of a Miami Herald “Giving Tuesday” fundraising column. The Herald, and

   particularly its bureau chief Mary Ellen Klas, had previously brought negative attention to FPL

   through investigative reporting. According to an August 2022 Herald story, Silagy was enraged

   by this reporting. Silagy requested in an email to Pitts that the Capitolist “have a field day” with

   the Herald’s fundraising column, even suggesting that the Capitolist include “a cartoon of [Klas]

   with a tin cup on the street corner.”

          300.    Burgess emailed a draft story to MacIver and Richard Johnston of Public Concepts

   two days after Silagy’s request, stating that the Herald was “now begging for handouts.” In the

   body of his email, Burgess wrote, “I plan to swap out the image for the suggestion Abbie [MacIver]

   made about [Klas] panhandling,” but he had not had time to do so. The message was forwarded

   to Pitts by MacIver.

          301.    The next morning, May 7, 2020, on the same email thread, Pitts asked MacIver if

   there had been “any update on this,” mentioning “I need to update ES on several issues.” The

   Capitolist posted a story that day, titled: “The Miami Herald has turned to begging to support their

   biased reporting and fear-mongering.” The story did not include a picture of Mary Ellen Klas

   panhandling but did include a picture of a sign reading “NO PANHANDLING ZONE.”




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          302.    The same day, May 7, 2020, Burgess sent MacIver an email with the subject line

   “The MEK photoshop was too insensitive to beggars,” attaching a photoshopped image of Klas

   begging for “[s]pare change” with a cardboard sign. Burgess stated that the image would be used

   in an upcoming weekly newsletter.

          303.    According to the Miami Herald, Burgess emailed MacIver on May 5, 2020, asking

   for “guidance” on whether he should report on a non-FPL utility that had, he claimed, cut off

   power to nearly 100 customers. MacIver forwarded the message to Pitts, telling him that her “gut”

   feeling was to “let him” write the story because “it makes him look like he’s not in our pocket and

   it isn’t bad for FPL, especially if he highlights them being a good actor.”

          304.    According to the Securities Complaint, Tim Fitzpatrick (“Fitzpatrick”), a former

   FPL executive who had worked directly under Silagy for several years, was hired to oversee the

   Capitolist’s day-to-day operations. According to a December 16, 2019, email from attorneys at

   Foley & Lardner to Fitzpatrick’s personal email account, copying Pitts, Fitzpatrick was designated

   as the official owner and manager of SUN Marketing when it was incorporated in December 2019.

          305.




          306.    According to the Securities Complaint, on June 9, 2020, MacIver sent a Capitolist

   slide deck to Pitts and Fitzpatrick in preparation for a meeting with Silagy. Pitts emailed the slide

   deck to Silagy’s personal Yahoo.com email account the next day. On June 15, 2020, MacIver

   emailed Pitts and Fitzpatrick again, saying she thought Silagy had the slide deck and asking if the

   others wanted to have any “preparation discussions before the call with him.”




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              307.   On June 10, 2020, Pitts sent Silagy a slide deck in which he stated that the

   Capitolist’s readership had “increased exponentially during our three-year investment period”

   beginning in March 2017, and discussed strategies and “the opportunity” to increase the

   Capitolist’s stature and visibility “to our benefit.”

              308.   On July 15, 2020, Pitts sent the slide deck to Silagy once more. Silagy replied from

   his personal Yahoo.com email address: “Got it. Thought you’d sent something new. Thanks.”

              309.




              310.   According to the Miami Herald, in August 2020, Matrix arranged for the

   incorporation of a new entity called “Vision Insight Holdings” (“Vision”) to give Fitzpatrick an

   official role from which he could oversee Burgess and have editorial control over the Capitolist’s

   stories.     According to the Securities Complaint, in Vision’s August 30, 2020, Operating

   Agreement, MacIver was listed as the entity’s sole director. Matrix made arrangements for Vision

   to assume Metis Group’s rights under the purchase option agreement.

              311.   According to the Securities Complaint, Pitts and MacIver emailed Fitzpatrick in

   September 2020 with an official employment agreement with Vision. Under the terms of the

   agreement, Vision would pay Fitzpatrick $15,000 per month. Fitzpatrick and Pitts exchanged

   emails on September 4, 2020, in which he discussed his understanding that, under the agreement,




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   he would no longer receive his regular $5,000 per month from SUN Marketing and would instead

   be paid by Vision Insight Holdings.

          312.      According to the Securities Complaint, on September 18, 2020, Fitzpatrick updated

   MacIver, Pitts, Burgess, and Richard Johnston of Public Concepts in an email about a meeting he

   had with Burgess earlier that day. “Brian will be looping me into each days’ plans for coverage

   and sending me articles before publication so I can comment as needed,” Fitzpatrick wrote.

   Internal emails between Fitzpatrick and Burgess show that Fitzpatrick played an active role

   screening content for the site, including guest editorials.

          313.      According to an analysis by the Miami Herald in an article titled: “Powerbrokers:

   How FPL secretly took over a Florida news site and used it to bash critics,” published on July 25,

   2022, and updated on August 13, 2022, after Fitzpatrick began overseeing the Capitolist in

   September 2020, “the number of headlines mentioning FPL and other energy-related topics more

   than doubled.”

          314.      According to the Securities Complaint, Fitzpatrick, on the other hand, became

   concerned in late 2020 that the Capitolist’s growing influence was a double-edged sword. He

   believed that success and growth would inevitably raise questions about who was funding the site

   and pulling the strings behind the scenes. In a December 8, 2020, email to Fitzpatrick, Burgess

   admitted that “pay to play” in media was generally considered “icky” by large corporations, who

   “definitely don’t want it known they were engaged in that sort of behavior. So, part of our

   challenge is to transform the perception that we’re legit.”

          315.      According to the Securities Complaint, on December 20, 2020, Fitzpatrick sent an

   email to MacIver, which he designated “Confidential,” outlining a plan preparing for “the day that

   could come” when media members began asking questions about the Capitolist’s sponsors. “As a




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   tactical matter,” Fitzpatrick wrote, “any reporter making an inquiry should be told ‘put it in an

   email’ and we will respond (or not, depending on the question) via email as per the draft answers

   below.” Fitzpatrick wrote that the team would need to “ultimately mak[e] sure that our sponsors

   know that we will not deviate” from the predetermined answers to such questions. In response to

   the question: “Who is paying for this? Who owns you?” Fitzpatrick’s script called for Burgess to

   respond that the Capitolist had a “variety of sponsors” and that “[a]s a matter of practice, we do

   not publicize our sponsors” because “publicizing their support leads to them receiving many new

   requests for sponsorships.” In response to the question: “Isn’t this just a ‘Pay to Play’ platform?”

   Fitzpatrick wrote: “No,” then suggested turning the question around on the inquirer by asking: “Is

   the (name of the inquiring media outlet) a pay-to-play platform because you accept advertising

   dollars from businesses?” Fitzpatrick wrote that any other question he had not prepared an answer

   for should simply be ignored, “including any questions about ownership/management structure.”

          316.    According to the Securities Complaint, Silagy continued to be consulted on the

   Capitolist’s content. On August 27, 2020, Burgess sent a draft article to MacIver regarding JEA.

   The article asserted that the failure to sell JEA was due to “really bad management” by

   Jacksonville, which had “squander[ed]” an $11 billion opportunity. The article characterized

   NEE’s $11.05 billion bid for JEA as “what should have been the winning bid.” The sale, the article

   asserted, “could have been game changing” for Jacksonville, but there would now be “serious

   funding holes [. . .] well into the future.” MacIver sent the draft to Pitts that same evening, who

   asked that the title and some of the wording be changed, but said he liked the story. MacIver asked

   Pitts two minutes later if they wanted to wait to receive feedback from Silagy (“es”) before

   publishing. Pitts replied eight minutes later that MacIver could “[p]ut it up and just send me a link

   if he needs [to] edit we can change in the am.”




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          317.    On August 28, 2020, the Capitolist published a story titled “How Politics Cost

   Jacksonville 11 Billion Dollars,” which according to the Securities Complaint was largely similar

   in substance to the draft circulated the day before but included some new language (e.g., “Had JEA

   been sold to NextEra, it would have netted the city more than $6 billion in profit” was changed to

   “Had JEA accepted the offer and sold to NextEra, it would have netted the city more than $6 billion

   in pure profit”). [Emphasis removed].

          318.    According to the Securities Complaint, on October 12, 2020, MacIver emailed

   Martell’s personal gmail.com address, asking if the Capitolist should run a story about a proposed

   solar energy project. Fitzpatrick sent Burgess a NextEra press release on December 11, 2020, via

   email and wrote “[w]e should show them some love and do a little article on these

   accomplishments.”

          319.    According to the Securities Complaint, internal Matrix financial statements show

   that Vision continued to oversee and fund the Capitolist until at least 2021, contributing $200,000

   between January and December 2021. During this time, the site continued to publish stories

   favorable to FPL and NEE, including a July 27, 2021, story implying that a group seeking to

   oppose a proposed FPL rate hike was funded by dark money.

                  4.     Media Outlets Start Reporting on FPL’s Ties to Matrix and
                         the Ghost Candidate Scheme

          320.    On December 2, 2021, the Orlando Sentinel published an article titled “Florida

   Power & Light Execs Worked Closely with Consultants Behind ‘Ghost’ Candidate Scheme,

   Records Reveal.” The article disclosed that the Sentinel had obtained documents, including

   “checks, bank statements, emails, text messages, invoices, internal ledgers, and more” that were

   “apparently unearthed during an internal investigation” by Matrix. The article reported that

   documents showed that Matrix consultants billed FPL for more than $3 million shortly before they


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   began moving the money through Grow United that funded the ghost candidate scheme. The

   article also reported that the records also showed that Silagy coordinated with Matrix personnel on

   FPL campaign contributions that Matrix moved through various dark money non-profits ‒ totaling

   more than $10 million.

          321.    The Sentinel reported that Robo received the same records in early November 2021.

          322.    On December 30, 2021, the Sentinel published another article detailing the ghost

   candidate scheme. In it, the Sentinel again explained that its reporting was based on documents

   that had been delivered to the paper, including checks, bank statements, emails, text messages,

   invoices, ledgers, and other documents involving Matrix and FPL and covering the period between

   2016 and 2020.

          323.    Over the next eight months, Florida newspapers published more than a dozen

   articles linking FPL and NextEra to the ghost candidate schemes, the Capitolist, journalist

   surveillance, and JEA impropriety. These stories frequently drew on internal Matrix documents

   obtained by the press.

          324.    On December 17, 2021, Defendant Reuter told the Orlando Sentinel that the Matrix

   Memo was “shared with us” and that he and others were thus aware of the funding structure

   described in the memos sent to Silagy on November 26, 2019.

          C.      Defendants’ Violations of Securities Laws

          325.    From at least December 2, 2021 through January 31, 2023, certain Defendants made

   and caused NextEra and FPL to make false and misleading statements and omissions regarding

   the above. Broadly, these statements and omissions can be put in two categories: (1) affirmative

   statements denying or minimizing the role of NextEra and FPL in the above schemes, and (2)

   omissions in SEC filings about the impact of the above schemes on NextEra and FPL.




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                   1.     Affirmative Misstatements

          326.     On December 2, 2021, in response to the Orlando Sentinel’s reporting, Reuter

   denied the Company had any role in the ghost candidate scheme:

          Neither FPL nor our employees provided funding, or asked any third party to
          provide funding on its behalf, to Grow United in support of Florida state-level
          political campaigns during the 2020 election cycle. Any report or suggestion that
          we had involvement in, financially supported or directed others to support any
          ‘ghost’ candidates during the 2020 election cycle is patently false, and we have
          found absolutely no evidence of any legal wrongdoing by FPL or its employees.

          327.     On December 10, 2021, in response to questions by the Orlando Sentinel and

   Florida Times-Union about the creation of Grow United, Reuter said that “FPL had no

   involvement in the creation of Grow United,” and further: “Over this past summer, through both

   questioning from media and our own subsequent investigation, we learned that Joe Perkins’ team

   was responsible for the origins of this non-profit. As we understand it, Mr. Perkins had another

   client based out of Denver who was advocating nationally for the legalization of marijuana. Grow

   United was created for that client, who expressed interest in setting up offices in Georgia, Florida

   and Alabama.”

          328.     On December 17, 2021, when asked by the Orlando Sentinel about the November

   26, 2019, Funding Memo and Legal Memo that Pitts sent to Silagy proposing a structure for FPL’s

   political campaign spending that would “minimize public reporting,” Reuter said, “we have found

   no evidence that FPL or our employees used this proposal to support our communication and

   outreach activities during the 2020 election cycle, and further: “Neither FPL nor Eric Silagy

   requested Matrix to set up any proposed funding structure for 501(c)(4) organizations and we had

   no knowledge of this structure being used by Matrix. We are aware of the proposed structure as

   the legal memo was shared with us, and as we understand it, Joe Perkins’ team at Matrix created

   a proposal to fund their clients’ communication and outreach activities during 2020.”



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            329.   On December 10, 2021, when asked about the job offer extended to Garrett Dennis,

   Reuter, serving as FPL’s spokesman, said: “In July 2019, a Matrix representative working for Joe

   Perkins approached FPL about a plan to offer Garrett Dennis a job working to decriminalize

   marijuana. FPL flatly rejected the plan and communicated our lack of interest to Joe Perkins’

   team.”

            330.   On January 25, 2022, Robo made the following statement on a call with investors

   and analysts:

            I think on some of the Florida political headlines, I think what I’d like to say on that
            is pretty simple. When we got ‒ when we received the report and those allegations
            that have been in the press, we conducted a very extensive and thorough
            investigation that included looking at company financial records. It included
            looking at everyone who was named in its company e-mails, also looking at their ‒
            they’ve all provided access to their personal e-mails and text to us as part of that
            investigation. And the bottom line is we found no evidence of any issues at all, any
            illegality or any wrongdoing on the part of FPL or any of its employees. And so
            that’s kind of the bottom line. And I feel very good about the investigation that we
            did, and I feel very good that there is no basis to any of these allegations[.]

            331.   On June 24, 2022, when asked by the Orlando Sentinel and Florida Times-Union

   about FPL’s alleged covert monitoring of Florida Times-Union journalist Nate Monroe, Silagy

   responded in an interview with reporters, including Monroe, “[w]e did not engage in any activities

   having to do with following people like you, Nate, or taking pictures.”

            332.   That same day, when the Orlando Sentinel presented Reuter with text messages and

   emails indicating that a private investigator paid by Matrix had followed Monroe while updating

   Martell on the pursuit, Reuter made a statement casting doubt on the authenticity and completeness

   of the records, saying FPL had “no digital record of these exchanges and cannot prove their

   veracity” and “[t]aken individually or collectively, none of the information you have in your

   possession demonstrates any wrongdoing by FPL or our employees.”




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          333.      On August 13, 2022, the Miami Herald reported on FPL’s apparent control over

   the Capitolist. In response to questions about the Capitolist, Chris McGrath, at the time serving

   as a spokesperson for FPL in his role as Communication Leader – Corporate Affairs, told the

   Herald: “FPL does not have an ownership interest in the Capitolist – either directly or indirectly[.

   . . .] We also do not have editorial control over what the Capitolist writes or publishes.”

                    2.    Omissions in SEC Filings

          334.      On February 18, 2022, NextEra filed its Annual Report on Form 10-K with the

   SEC, reporting the Company’s financial and operating performance for the year ended December

   31, 2021 (“2021 10-K”). The 2021 10-K was signed by Defendants Robo, Barrat, Camaren, Dunn,

   Gursahaney, Hachigian, Lane, Porges, Schupp, Skolds, Utter, and Wilson. The 2021 10-K failed

   to disclose any risk to investors that NextEra might be negatively impacted by the investigations

   into allegations that FPL or NextEra had violated or abetted violations of federal, state, or local

   election laws.

          335.      On April 1, 2022, NextEra filed its annual proxy statement with the SEC on

   Schedule 14A (the “2022 Proxy Statement”). The 2022 Proxy Statement solicited shareholder

   votes in favor of five proposals, including the re-election of Defendants Barrat, Camaren, Dunn,

   Gursahaney, Hachigian, Ketchum, Lane, Porges, Robo, Schupp, Skolds, Stall, and Wilson (i.e.,

   the “Proxy Defendants”), as well as non-binding approval of certain executive compensation.

          336.      The 2022 Proxy Statement includes several representations designed to bolster

   arguments in favor of those propositions, including that: (1) NextEra had adopted a Code of

   Business Conduct & Ethics applicable to all representatives of NextEra Energy and its subsidiaries,

   including directors; (2) the “Board has instructed the General Counsel to assist the Board in

   reviewing all written communications” regarding, among other things, any internal and external




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   complaints, including as they relate to Company subsidiaries; and (3) the Audit Committee

   oversees compliance with legal and regulatory requirements as well as “major risks” to the

   Company.

          337.    The 2022 Proxy Statement requested that shareholders to ratify certain executive

   compensation awards, including to Defendants Robo, Silagy, and Ketchum. In an effort to justify

   these awards to shareholders, the 2022 Proxy Statement represented that “in years where the

   Company’s performance is above or substantially above the performance of its peers [. . .] as it

   was in 2021, the Company expects that annual incentive awards will be paid [. . .] at a rate

   exceeding the target rate.”

          338.    The 2022 Proxy Statement, however, failed to disclose the governance failures

   which had already led to multiple instances of unlawful or unethical Company behavior, exposing

   NextEra to financial and reputational harm, and that the Board had insufficient policies and

   procedures to uncover and remedy such behavior.

          339.    The 2022 Proxy Statement also was false and misleading because it failed to

   disclose that, despite the representations in the 2022 Proxy Statement regarding the Board’s risk

   oversight function and the Audit Committee’s responsibilities, the Board and committees were not

   adequately exercising these functions and were causing or permitting the Company to issue false

   and misleading statements regarding the Matrix Memo and the Company’s response and exposure

   resulting therefrom.

          340.    The false and misleading representations and omissions in the 2022 Proxy

   Statement were material to shareholders voting on the Board’s proposals, particularly with respect

   to the reelection of incumbent directors and the approval of executive compensation.




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          341.    On April 22, 2022, NextEra filed its Quarterly Report on Form 10-Q with the SEC,

   reporting the Company’s financial and operating performance for the three-month period ending

   March 31, 2022 (“2022 Q1 Form 10-Q”). The 2022 Q1 Form 10-Q was certified by, among others,

   Defendants Ketchum and Silagy. The 2022 Q1 Form 10-Q failed to disclose any risk to investors

   that NextEra might be negatively impacted by the investigations into allegations that FPL or

   NextEra had violated or abetted violations of federal, state, or local election laws.

          342.    On July 27, 2022, NextEra filed its Quarterly Report on Form 10-Q with the SEC,

   reporting the Company’s financial and operating performance for the three-month period ending

   June 30, 2022 (“2022 Q2 Form 10-Q”). The 2022 Q2 Form 10-Q was certified by, among others,

   Defendants Ketchum and Silagy. The 2022 Q2 Form 10-Q failed to disclose any risk to investors

   that NextEra might be negatively impacted by the investigations into allegations that FPL or

   NextEra had violated or abetted violations of federal, state, or local election laws.

          343.    On November 3, 2022, NextEra filed a Quarterly Report on Form 10-Q with the

   SEC, reporting the Company’s financial and operating performance for the three-month period

   ending September 30, 2022 (“2022 Q3 Form 10-Q”). The 2022 Q3 Form 10-Q was certified by,

   among others, Defendants Ketchum and Silagy. The 2022 Q3 Form 10-Q failed to disclose any

   risk to investors that NextEra might be negatively impacted by the investigations into allegations

   that FPL or NextEra had violated or abetted violations of federal, state, or local election laws.

                  3.      The Truth Emerges and Subsequent Developments

          344.    On January 25, 2023, NextEra filed a Form 8-K with the SEC which for the first

   time specifically acknowledged that FPL faced legal and reputational risks because of the

   allegations that FPL executives may have orchestrated political misconduct. The Form 8-K stated:

          Allegations of violations of law by FPL or NEE have the potential to result in fines,
          penalties, or other sanctions or effects, as well as cause reputational damage for


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          FPL and NEE, and could hamper FPL’s and NEE’s effectiveness in interacting with
          governmental authorities.

          FPL’s and NEE’s business and reputation could be adversely affected by
          allegations that FPL or NEE has violated laws, by any investigations or proceedings
          that arise from such allegations, or by ultimate determinations of legal violations.
          For example, media articles have been published that allege, among other things,
          Florida state and federal campaign finance law violations by FPL[. . . .] FPL and
          NEE cannot guarantee that the FEC complaint process will not ultimately result in
          a finding that FPL or NEE violated federal campaign finance or other laws, that
          applicable federal or state governmental authorities may not investigate or take
          enforcement actions with respect to the allegations or assert that legal violations by
          FPL or NEE have occurred, or that violations may not ultimately be found by a
          court of competent jurisdiction or other authorities to have occurred. In addition,
          notwithstanding the completion or pendency of any internal review or investigation
          by FPL or NEE of any allegations of legal violations, including of the allegations
          regarding campaign finance laws set forth in the media articles or FEC complaint,
          FPL and NEE cannot provide assurance that any of the foregoing will not result in
          the imposition of material fines, penalties, or otherwise result in other sanctions or
          effects on FPL or NEE, or will not have a material adverse impact on the reputation
          of NEE or FPL or on the effectiveness of their interactions with governmental
          regulators or other authorities.

          345.    On the same day, January 25, 2023, NextEra filed a second Form 8-K disclosing

   that Silagy would no longer serve as CEO of FPL as of February 15, 2023, and would retire

   effective May 15, 2023.

          346.    In an exhibit attached to the Form 8-K, NextEra additionally disclosed a

   “Confirmation of Post-Retirement Covenants Agreement” (the “Severance Agreement”) between

   NextEra and Silagy, whereby Silagy agreed to, among other things, a release of claims and various

   restrictive covenants, including non-competition and non-disparagement covenants, in exchange

   for payments in the form of incentive awards calculated in accordance with NextEra’s annual

   incentive plan and equity awards consistent with what was characterized as “a normal retirement”

   of an employee at least age 55 following at least 10 years of service.

          347.    The Severance Agreement included a clawback provision, whereby Silagy agreed

   to repay to NextEra nearly all the amounts granted to him under the Severance Agreement, should



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   Silagy be convicted of or plead guilty or nolo contendere to, or admit to facts constituting, a felony

   in violation of state or federal laws, or if another NextEra employee does likewise, based on actions

   that Silagy participated in, or was or should have been aware of during his tenure. Notably, the

   Severance Agreement provides no clawback whatsoever for anything less than felony culpability

   by Silagy. Civil liability (including of federal securities laws) or breaches of the Company’s own

   ethical standards are not actionable under the Severance Agreement.

          348.    On January 25, 2023, on a call with investors and analysts, in response to a question

   about whether there was a link between NextEra’s internal investigation of potential political

   misconduct and Silagy’s departure, NextEra CEO John Ketchum deflected by saying “we’re not

   making a connection” but acknowledged “it’s a little earlier than I would have hoped Eric would

   have wanted to do it.”

          349.    Stock market analyst Paul Patterson of Glenrock Associates wrote that NEE’s stock

   price decline on January 25, 2021, was “driven substantially by the unexpected management

   change and the update they gave on their review into political activity.” On January 27, 2023, the

   South Florida Sun Sentinel reported on the 8-K’s discussion of the FEC Complaint,14 writing that

   it “was a tacit admission that $1.3 million from FPL went into the dark money pipeline.”

          350.    Additional factors bolster Silagy’s knowledge of, and participation in, the scheme.

   First, Silagy’s claim that the Company had never been subpoenaed over its involvement in the JEA

   scandal was false when made. During a May 15, 2023 hearing in the case against JEA’s former

   CEO and Chief Financial Officer, the government showed and published a copy of an April 21,

   2020 subpoena sent to NextEra regarding the JEA scandal. FBI agent Robert Blythe explained to



   14
         The “FEC Complaint” refers to the complaint filed by the FEC in In the Matter of Unknown
   Respondents, MUR 8082, on October 27, 2022.


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   the court that NextEra not only provided a document production in response to the subpoena but

   made certain employees available for interviews with the government ‒ including Silagy. Silagy’s

   falsehood regarding the JEA subpoena raises the inference that he further knew or recklessly

   disregarded that his statements at issue in this case were untrue.

          351.    Second, on December 1, 2021 – one day before the initial reporting on the Matrix

   Memo was published – Silagy sold 62,480 shares of personally held NEE stock at a price of $87

   per share, representing a total value of $5,435,760. Both the timing and the amount of the stock

   sold by Silagy were unusual and suspicious. On December 1, 2021, Silagy would have known

   that a potentially negative news story linking FPL to the conduct of Matrix and the “ghost

   candidate” scandal was imminent as he had been asked to provide quotes in response to specific

   questions about the content of the story. The 62,480 shares of NextEra stock sold by Silagy on

   December 1, 2021, represent the largest volume of shares bought or sold in a single day of trading

   throughout his tenure as an officer of FPL going back to November of 2012.

          352.    On September 29, 2023, the General Counsel for the FEC submitted their factual

   and legal analysis of the FEC Complaint in an initial 48-page report to the Commission (the

   “General Counsel Report”).15 In the report, the General Counsel determined that, based on the

   allegations in the FEC Complaint, there was reason to believe that the Unknown Respondents had

   violated 52 U.S.C. §30122 and 11 C.F.R. §110.4(b) by making contributions in the name of

   another, and that Grow United and four other 501(c)(4)s violated the same by knowingly

   permitting their names to be used to effect such contributions, and recommended that the FEC

   investigate the matter fully. General Counsel Report at 41. The General Counsel did not



   15
           FED,     First       General     Counsel’s     Report         (Sept.      29,      2023),
   https://www.fec.gov/files/legal/murs/8082/8082_51.pdf.


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   recommend taking action against FPL at that time, based in part on Silagy’s sworn statement that

   FPL did not use any FPL funds to make conduit contributions through nonprofit organizations in

   2020. Id. at 41-42.

          353.     Far from absolving FPL and Silagy, however, the General Counsel Report

   pointedly noted that Silagy’s sworn statement was limited to 2020 and did not reach the alleged

   payments to nonprofits by FPL in the 2018 cycle. The report found that FPL appeared to have

   funded such groups prior to 2020, may have been one of the sources of the relevant contributions,

   and that FPL implemented at least part of Matrix’s proposed scheme. Id. at 42.

          354.     On February 8, 2024, the FEC failed on a 2-3 vote (with one absence) to accept the

   General Counsel’s recommendations. On February 27, 2024, the FEC failed on a 3-3 vote to

   dismiss the FEC Complaint, voting to close the file. That FPL was one vote away from an FEC

   full-blown investigation, coupled with the extensive analysis of the General Counsel Report,

   shows that FPL’s participation in the scheme was credible.

                   4.      Securities Damages to NextEra

          355.     From December 1, 2021, through January 31, 2023, NextEra repurchased its own

   common stock as follows:

                        # of Shares
       Period           Repurchased              Average Price Per Share      Cost

       Dec. 2021        1,306                    90.78                        118,558.68

       Feb. 2022        222,996                  75.38                        16,809,438.48

       Mar. 2022        1,618                    81.22                        131,413.96

       May 2022         8,056                    69.80                        562,308.80

       June 2022        1,804                    73.20                        132,052.80




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         July 2022      164                       80.25                      13,161.00

         Aug. 2022      7,870                     91.00                      716,170.00

         Sept. 2022     1,554                     85.50                      132,867.00

         Nov. 2022      6,819                     82.91                      565,363.29

         Dec. 2022      1,549                     86.21                      133,539.29

         Total          253,736                   76.12                      19,314,873.30

           356.      By repurchasing shares while the price was artificially inflated, NextEra was

   harmed.

   VI.     BOARD KNOWLEDGE AND CULPABILITY

           357.      Confidential internal Board-level documents produced to Plaintiff show that,

   despite the vital importance of political engagement to the bottom line of FPL and NextEra, the

   Board failed to put in place or enforce an adequate governance regime to discourage or root out

   the kind of below-board political dirty tricks evidenced in the Matrix Memo and the

   Maine/NECEC affair and extensively reported on by the media.




           358.




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          379.




          380.    Counsel for Plaintiff requested all additional responsive Board materials through

   June 2023, and was informed by counsel for the Company that no further documents existed.

          381.    Despite Plaintiff’s demand for Board materials regarding: 1) NextEra’s

   contributions to 501(c)(4), “dark money,” or other political organizations, including Matrix LLC;

   2) the Company’s lobbying or political contributions and campaign disclosures, policies,

   procedures, or practices; and 3) controls in place to monitor, prevent, or report up allegations of

   improper political influence,

                                                                                  . This indicates a

   completely inadequate system to detect, prevent, or remediate any such legal or ethical violations,

   and a major breach of the Board’s oversight functions.

          382.    Further, there is no evidence in the Books and Records that the Board took any

   action to discipline any Company employees involved in the campaign finance schemes in Florida

   or Maine. Silagy, in fact, was granted a generous Severance Agreement by the Board with no

   clawback provision for anything less than felony criminal liability.




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   VII.   DAMAGES TO THE COMPANY

          383.    As a result of the Individual Defendants’ knowing misconduct, NextEra engaged

   in unlawful and deceptive schemes of obstructing the lawful NECEC project and funding shadow

   non-profit organizations to impermissibly further NextEra’s business objectives.           NextEra

   participated in violations of antitrust and competition law, campaign financing law and its own

   internal policies by engaging in unlawful restraint of trade, and intentionally hiding political

   contributions to influence elections and policy decisions, to its own detriment and the detriment of

   its shareholders.

          384.    Further, as a direct and proximate result of the Individual Defendants’ actions,

   NextEra has expended, and will continue to expend, significant sums of money in relation to

   wrongdoing – defending suits, such as the Antitrust Action and Securities Action, responding to

   governmental investigations, and spending large sums of capital on marketing campaigns to win

   back the good faith of its customers.

          385.    Finally, NextEra’s business, goodwill, and reputation have been, and will continue

   to be, severely damaged by the Individual Defendants’ decision to allow and/or failure to prevent

   the Company’s engagement in the above-described behaviors.

   VIII. DERIVATIVE ALLEGATIONS

          386.    Plaintiff brings this action derivatively in the right of, and for the benefit of,

   NextEra to redress the breaches of fiduciary duty and other violations of law committed by the

   Individual Defendants, as alleged herein.

          387.    Plaintiff will adequately and fairly represent the interests of NextEra and its

   shareholders in enforcing and prosecuting the Company’s rights, and Plaintiff has retained counsel

   experienced in prosecuting this type of derivative action. Plaintiff has continuously held NextEra




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   stock since May 5, 2022, and will continue to hold NextEra stock through the resolution of this

   action.

   IX.       DEMAND FUTILITY ALLEGATIONS

             388.   Plaintiff has not made a demand on the Board to bring the claims asserted herein

   because doing so would be a futile and useless act. The Current Director Defendants (Ketchum,

   Arnaboldi, Camaren, Gursahaney, Hachigian, Lane, Porges, Stall, and Wilson) constitute nine of

   the 13 current directors on the Board. As set forth below, there is no majority of the Board capable

   of making an independent and disinterested decision to consider the Demand with respect to any

   of the claims brought by Plaintiff.

             389.   Each of the Current Director Defendants faces a substantial likelihood of liability

   for breaching their duty of loyalty to NextEra by failing to ensure that NextEra had sufficient

   internal controls regarding (1) following federal, state, and local laws as well as the Company’s

   own internal policies regarding political funding; and (2) making sure that the Company’s public

   representations were free from materially misleading statements and omissions.

             390.   Each of the Current Director Defendants (save Arnaboldi and Ketchum) was on the

   Board prior to receipt of                           , during which time they utterly failed to implement

   or oversee a system of internal controls that would have prevented the behavior described in the

   Matrix Memo and subsequent media reporting, despite the importance to NextEra of lawfully and

   ethically participating in the political process.

             391.   Each of the Current Director Defendants (save Arnaboldi and Ketchum) was on the

   Board

                                                                                                      . In

   addition, Arnaboldi was aware of the issues in the Matrix Memo and subsequent media reporting




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   no later than                                                    . Each Current Director Defendant

   was thus on notice of the potential violations of federal, state, and local election laws, as well as

   NextEra’s company policies described therein.

          392.     Despite this, the Current Director Defendants have refused to take sufficient action

   against Silagy or any other Company employee for violations of federal, state, or local election

   laws or the Company’s policies.

          393.     Each of the Current Director Defendants was on the Board after they were aware

   that Defendants Robo, Silagy, and/or Reuter made false or misleading public statements regarding

   the facts underpinning the Matrix Memo and the Company’s response and potential exposure

   thereto.

          394.     Despite this, the Current Director Defendants have refused to take sufficient action

   against Robo, Silagy, or Reuter for violations of federal securities laws or the Company’s policies.

          395.     Defendant Ketchum has additional reasons why he cannot disinterestedly consider

   the Demand. Ketchum has been president and CEO of NextEra since March 2022 and Chairman

   of FPL since February 2023. In its proxy dated April 1, 2024, NextEra acknowledges that

   Ketchum is not independent. The proxy further states that Ketchum received a salary of $1.4

   million in 2021, $1.483 million in 2022, and $1.575 million in 2023. In 2023 alone, Ketchum’s

   salary plus other compensation totaled over $20.5 million.

          396.     Ketchum also faces a substantial likelihood of liability for breaching his fiduciary

   duties of loyalty and care as an officer of NextEra. In addition to his culpable actions and inactions

   after he succeeded to the Board, Ketchum faces liability because he was President and CEO of

   NEER during much of the period when NEER was surreptitiously funding the anti-NECEC




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   campaign, abdicating his duty to exercise NEER operated in accordance with federal and state

   laws and regulations.

   X.         CLAIMS FOR RELIEF

                                             COUNT I
                                       Breach of Fiduciary Duty
                                    Against the Individual Defendants

              397.   Plaintiff incorporates by reference and realleges each and every allegation set forth

   in ¶¶1-396 as if fully set forth herein.

              398.   The Individual Defendants each owe (and owed) NextEra and its shareholders

   fiduciary duties of loyalty, good faith, candor, trust, and due care in managing the Company’s

   affairs.

              399.   The fiduciary duties the Individual Defendants owed to NextEra included, among

   others, implementing and overseeing a system of internal controls to (1) monitor, detect, prevent,

   and remediate the unlawful anticompetitive behavior of its principal subsidiaries; (2) monitor,

   detect, prevent, and remediate the unethical or unlawful practice of surreptitiously funding

   501(c)(4) organizations to anonymously participate in political processes; and (3) monitor, detect,

   prevent, and remediate the dissemination of false and misleading statements to the public. The

   Individual Defendants also had a duty to implement remedial measures upon the violations relating

   to the above.

              400.   As detailed above, the Individual Defendants breached their fiduciary duties by:

              a.     despite knowing the importance of following applicable laws and regulations and

                     the Company’s own policies regarding (1) abstaining from anti-competitive

                     behavior and (2) participation in the political process, they consciously and

                     repeatedly failed to ensure that NextEra’s reporting systems were adequately




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                   designed to detect (1) unlawful interference in the NECEC project and (2) unlawful

                   or unethical funding of nonprofits to evade identification of NextEra and its

                   subsidiaries as the source of funds;

           b.      consciously disregarding their duty to investigate red flags and remedy any

                   misconduct discovered; and

           c.      issuing false and misleading statements to stockholders.

           401.    The Individual Defendants had actual or constructive knowledge that they caused

   the Company to fail to maintain adequate internal controls and failed to provide adequate oversight

   to protect the Company from liability related to the Company’s unlawful or unethical practices

   regarding (1) anticompetitive behavior and (2) political engagement.

           402.    These actions were not good-faith exercises of prudent business judgment to protect

   and promote the Company’s corporate interests and those of its stockholders.

           403.    As a direct and proximate result of the Individual Defendants’ breaches of their

   fiduciary duties, NextEra has been damaged, not only monetarily, but also with regard to its

   corporate image and goodwill. Such damages to NextEra include, and will include, substantial

   risk of liability, legal costs, increased regulatory scrutiny, reputational damages, declining

   customer base, declining revenue, declining stock price, increased cost of capital, and other costs,

   damages, and liabilities.

                                           COUNT II
         Violation of Section 10(b) of the Exchange Act and SEC Rule 10b-5 Promulgated
                           Thereunder Against the Individual Defendants

           404.    Plaintiff incorporates by reference and realleges each and every allegation set forth

   in ¶¶1-396 as if fully set forth herein.




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          405.    During the relevant period, Defendants disseminated or approved false or

   misleading statements about NextEra related to its political engagement regime, which they knew

   or recklessly disregarded were false or misleading and were intended to deceive, manipulate, or

   defraud. Those false or misleading statements and Defendants’ course of conduct were designed

   to artificially inflate the price of the Company’s common stock.

          406.    At the same time that the price of the Company’s common stock was inflated due

   to the false or misleading statements made by Defendants, Defendants caused the Company to

   repurchase more than $19 million of shares of its own common stock at prices that were artificially

   inflated due to Defendants’ false or misleading statements.

          407.    Defendants violated Section 10(b) of the Exchange Act and SEC Rule 10b-5 in that

   they (a) employed devices, schemes, and artifices to defraud; (b) made untrue statements of

   material facts or omitted to state material facts necessary in order to make the statements made, in

   light of the circumstances under which they were made, not misleading; and/or (c) engaged in acts,

   practices, and a course of business that operated as a fraud or deceit upon NextEra in connection

   with the Company’s purchases of its own common stock during the relevant period.

          408.    Defendants, individually and in concert, directly and indirectly, by the use of means

   or instrumentalities of interstate commerce or of the mails, engaged and participated in a

   continuous course of conduct that operated as a fraud and deceit upon the Company; made various

   false or misleading statements of material facts and omitted to state material facts necessary in

   order to make the statements made, in light of the circumstances under which they were made, not

   misleading; made the above statements intentionally or with a severely reckless disregard for the

   truth; and employed devices and artifices to defraud in connection with the purchase and sale of

   NextEra stock, which were intended to, and did: (a) deceive NextEra regarding, among other




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   things, the Company’s lack of internal controls to monitor, detect, and prevent unlawful or

   unethical political engagement practices; and (b) artificially inflate and maintain the market price

   of NextEra stock.

           409.    Defendants were among the senior management and directors of the Company, and

   were therefore directly responsible for, and are liable for, all materially false or misleading

   statements made during the relevant period, as alleged above.

           410.    As described above, Defendants acted with scienter throughout the relevant period,

   in that they acted either with intent to deceive, manipulate, or defraud, or with recklessness. The

   misstatements and omissions of material facts set forth in this complaint were either known to

   Defendants or were so obvious that Defendants should have been aware of them. Throughout the

   relevant period, Defendants also had a duty to disclose new information that came to their attention

   and rendered their prior statements to the market materially false or misleading.

           411.    As a direct and proximate result of Defendants’ wrongful conduct, NextEra

   suffered damages in connection with its purchases of its own common stock during the relevant

   period. By reason of such conduct, Defendants are liable to the Company pursuant to Section

   10(b) of the Exchange Act and SEC Rule 10b-5.

                                           COUNT III
                             Violation of Section 20(a) of the Exchange Act
                                   Against the Individual Defendants

           412.    Plaintiff incorporates by reference and realleges each and every allegation set forth

   in ¶¶1-396 as if fully set forth herein.

           413.    During their tenures as officers and/or directors of NextEra, each of the Individual

   Defendants was a controlling person of the Company within the meaning of Section 20(a) of the

   Exchange Act. By reason of their positions of control and authority as officers and/or directors of




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   NextEra, these Defendants had the power and authority to direct the management and activities of

   the Company and its employees, and to cause the Company to engage in the wrongful conduct

   complained of herein. These Defendants were able to and did control, directly and indirectly, the

   content of the public statements made by NextEra, including its materially misleading 2022 Proxy

   Statement and other filings with the SEC, thereby causing the dissemination of the false and

   misleading statements and omissions of material facts as alleged herein.

          414.    As set forth above, NextEra violated Section 10(b) of the Exchange Act by its acts

   and omissions as alleged in this complaint. By virtue of their positions as controlling persons of

   NextEra and, as a result of their own aforementioned conduct, the Individual Defendants are liable

   pursuant to Section 20(a) of the Exchange Act, jointly and severally. Moreover, as detailed above,

   during the respective times these Defendants served as officers and/or directors of NextEra, each

   of the Individual Defendants was culpable for the material misstatements and omissions made by

   NextEra as set forth above.

                                          COUNT IV
                 Violation of Section 14(a) of the Exchange Act and SEC Rule 14a-9
                                    Against the Proxy Defendants

          415.    Plaintiff incorporates by reference and realleges each and every allegation set forth

   in ¶¶1-396 as if fully set forth herein. This claim is based solely on negligence, not on any

   allegation of reckless or knowing conduct by or on behalf of the Proxy Defendants. Plaintiff

   specifically disclaims any allegations of reliance upon any allegation of, or reference to, any

   allegation of fraud, scienter, or recklessness with regard to this claim. In addition, NextEra’s

   exculpation provision in its Articles of Incorporation is inapplicable to this derivative claim

   because such provision only applies to breach of fiduciary claims and has no application to federal




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   securities laws. Further, this Count is asserted as a derivative claim on behalf of the Company by

   the Plaintiff, and not as a direct claim on behalf of shareholders.

          416.    SEC Rule 14a-9 (17 C.F.R. §240.14a-9), promulgated under Section 14(a) of the

   Exchange Act provides:

          No solicitation subject to this regulation shall be made by means of any proxy
          statement, form of proxy, notice of meeting or other communication, written or
          oral, containing any statement which, at the time and in the light of the
          circumstances under which it is made, is false or misleading with respect to any
          material fact, or which omits to state any material fact necessary in order to make
          the statements therein not false or misleading or necessary to correct any statement
          in any earlier communication with respect to the solicitation of a proxy for the same
          meeting or subject matter which has become false or misleading.

   17 C.F.R. §240.14a-9(a).

          417.    The Proxy Defendants either knowingly or negligently issued, caused to be issued,

   and participated in the issuance of materially false and misleading written statements to

   stockholders that were contained in the 2022 Proxy Statement. The 2022 Proxy Statement

   contained proposals to NextEra’s stockholders urging them to re-elect the members of the Board

   and approve executive compensation. The 2022 Proxy Statement, however, misstated or failed to

   disclose: (1) deficiencies in NextEra’s internal and disclosure controls that were known to the

   Proxy Defendants when the 2022 Proxy Statement was filed; and (2) reporting failures known to

   the Proxy Defendants when the 2022 Proxy Statement was filed, regarding NextEra’s political

   engagement regime.

          418.    By virtue of the conduct alleged herein, the Proxy Defendants violated Section

   14(a) of the Exchange Act and SEC Rule 14a-9. As a direct and proximate result of the Proxy

   Defendants’ wrongful conduct, NextEra misled or deceived its shareholders by making misleading

   statements that were an essential link in a majority of those shareholders deciding to follow




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   NextEra’s recommendation to re-elect those directors, and approve certain executive

   compensation.

           419.    Plaintiff, on behalf of NextEra, seeks relief for damages inflicted on the Company

   due to the misleading 2022 Proxy Statement in connection with the improper re-election of the

   members of the Board and approval of executive compensation.

                                         COUNT V
                   Aiding and Abetting Breach of Fiduciary Duties Against Matrix

           420.    Plaintiff incorporates by reference and realleges each and every allegation set forth

   in ¶¶1-396 as if fully set forth herein.

           421.    As alleged above in Count I, each of the Individual Defendants had, and breached,

   fiduciary duties they held toward NextEra and its shareholders.

           422.    Matrix, through its control persons, had knowledge of those breaches. By offering

   substantial assistance and encouragement to the Individual Defendants to take the above-

   referenced wrongful actions in breach of their fiduciary duties, Matrix aided and abetted the

   Individual Defendants in those breaches.

   XI.     PRAYER FOR RELIEF

           WHEREFORE, Plaintiff demands judgment as follows:

           A.      Declaring that Plaintiff may maintain this derivative action on behalf of NextEra

   and that Plaintiff is a proper and adequate representative of the Company;

           B.      Declaring that the Individual Defendants have breached their fiduciary duties to

   NextEra;

           C.      Determining and awarding to NextEra the damages sustained by it, as a result of

   the breaches of fiduciary duty and other claims set forth above from each of the Individual

   Defendants, jointly and severally;



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          D.      Awarding to NextEra restitution from the Individual Defendants and ordering

   disgorgement of all profits, benefits, and other compensation obtained by them, including all

   profits, special benefits, and unjust enrichment they have obtained as a result of their unlawful

   conduct, payment of incentive compensation (whether in the form of cash bonuses, stock awards,

   or stock option grants), and common stock sale proceeds;

          E.      Directing NextEra to take all necessary actions to reform and improve its corporate

   governance and internal procedures, to enable the Company to comply with the Company’s

   existing governance obligations and all applicable laws, and to protect the Company and its

   stockholders from a recurrence of the damaging events described herein;

          F.      Awarding to Plaintiff the costs and disbursements of the action, including

   reasonable attorneys’ fees;

          G.      Awarding pre- and post-judgment interest; and

          H.      Granting such other and further relief as the Court deems just and equitable.

   XII.   JURY DEMAND

          Plaintiff demands a trial by jury of all issues so triable.

   Dated: February 21, 2025                       Respectfully submitted,

                                                  KOPELOWITZ OSTROW FERGUSON
                                                  WEISELBERG GILBERT P.A.

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